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          SUPREME COURT OF THE STATE OF NEW YORK COUNTY OF NEW YORK
           -------------------------------------------------------------- X
           ABBAS SHAH,
           ADAM BAUMAN
                                  Plaintiffs,
                      --against--                 Index No. 654823/2019

           FLAT RATE MOVERS LTD., FLAT RATE
                                                             FIRST AMENDED COMPLAINT
           ELITE SERVICES, INC., and ELITE                    • CARMACK AMENDMENT CLAIM
           MOVING, LLC,                                       • CIVIL RICO CLASS ACTION CLAIM



                                           Defendants.
           -------------------------------------------------------x--------

                                         NATURE OF THE CASES

           1.          MAY IT PLEASE THE COURT that, upon satisfactory stipulation with

           Defendant’s Counsel, PLAINTIFFS ARE WITHDRAWING THEIR FIRST CAUSE OF

           ACTION     (BREACH       OF    CONTRACT),       SECOND      CAUSE    OF   ACTION

           (NEGLIGENCE) AND THIRD CAUSE OF ACTION (VIOLATION OF NEW YORK’S

           UNFAIR TRADE PRACTICES ACT), AND REQUEST THE COURT TO DISMISS

           THOSE THREE AFOREMENTIONED CAUSES OF ACTION/CLAIMS. PLAINTIFFS

           ARE HEREBY AMENDING THEIR COMPLAINT AND CLAIM AS FOLLOWS:

                  a. FIRST CAUSE OF ACTION is CARMACK AMENDMENT CLAIM

                  b. SECOND CAUSE OF ACTION is CIVIL RICO CLASS ACTION CLAIM




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           2.          This CARMACK AMENDMENT CLAIM is brought by Plaintiffs Abbas

           Shah and Adam Bauman (herein, “Plaintiffs”) against defendants, Flat Rate Movers

           LTD. (herein, "Flat Rate Movers"), Flat Rate Elite Services, Inc. (herein, "Elite

           Services"), and Elite Moving, LLC (herein, "Elite Moving," and collectively with Flat

           Rate Movers and Elite Services, herein, "Defendant" or "FlatRate"). Plaintiffs arranged

           for FlatRate to move household goods and furnishings, and this action arises from

           FlatRate's egregious and deceptive conduct concerning its refusal to make Plaintiffs

           whole for damage it caused to certain property while moving it between New York

           State and New Jersey State, after inducing them to purchase its "Elite White Glove"

           level of moving services, falsely leading Plaintiffs to believe that they would be fully,

           and promptly, indemnified if any possessions were damaged.

           3.          The CIVIL RICO CLASS ACTION CLAIM is brought by Plaintiffs

           Abbas Shah and Adam Bauman (herein, “Plaintiffs”) against defendants, Flat Rate

           Movers LTD. (herein, "Flat Rate Movers"), Flat Rate Elite Services, Inc. (herein, "Elite

           Services"), and Elite Moving, LLC (herein, "Elite Moving," and collectively with Flat

           Rate Movers and Elite Services, herein, "Defendant" or "FlatRate").




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                                                PARTIES

           4.          At and during the times hereinafter mentioned, Plaintiffs are citizens and

           residents of New York County within the State of New York.

           5.          At all relevant times herein, and upon information and belief, Defendant

           Flat Rate Movers is a New York corporation in the household goods moving business,

           with its principal place of business in Bronx County in New York, which acts through,

           and/or on behalf of, various affiliates, including Defendants Elite Services and Elite

           Moving, and otherwise does business as "FlatRate Moving®."

           6.          At all relevant times herein, and upon information and belief, Defendant

           Elite Services is a New York corporation in the household goods moving business, with

           its principal place of business in Bronx County in New York, and which is affiliated with,

           and acts on behalf of and/or through, Flat Rate Movers and/or Elite Moving, and otherwise

           does business as "FlatRate Moving®."

           7.          At all relevant times herein, and upon information and belief, Defendant Elite

           Moving is a Delaware limited liability company in the household goods moving business,

           with its principal place of business in Bronx County in New York, and which is affiliated

           with, and acts on behalf of and/or through, Flat Rate Movers and/or Elite Services, and

           otherwise does business as "FlatRate Moving®."




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                                                   COUNT 1

                         THE CARMACK AMENDMENT CLAIM / 49 U.S.C. §14706

            Plaintiffs’ high value items and purchase of FlatRate’s “Elite” moving services –
            THE MOVE OUT FROM APARTMENT TO FLATRATE STORAGE

            8.            Defendant marketed itself to consumers in September 2018, and continues to

            market itself, as maintaining a specialized crew of “White Glove Elite” movers who are

            specially trained to handle the moving of high-value items. Its website says (at

            https://www.flatrate.com/elite-luxury-white-glove-movers) “Unparalleled Luxury Moving

            Teams That Deliver the Ultimate Experience.”

            The website goes on to say,

            “Luxury Protection:

            •    Highest quality blankets protect valuable furniture and bulky items

            •    Double-layer boxes provide next-level protection, preventing crushed or torn

                 belongings

            •    Dust covers ensures that items arrive as clean as they were before the move

            •    Custom wood crating is built by skilled carpenters

            •    Clean & climate-controlled trucks keep your valuables in perfect condition

           Why We're Perfect For Your High-End Move

            •    Our specially-trained, Elite White Glove Movers are experts when it comes to handling

                 the finer things in life, and they provide the attention and skill of a truly specialized

                 luxury moving company. If you are moving from an exclusive building, or have

                 expensive collections, large artwork, ancient artifacts, one-of-a-kind sculptures,

                 vintage instruments or designer furniture, call on our office today and we will execute

                 your move flawlessly.


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            •    Fragile Items: We'll use every pad, blanket and roll of bubble wrap we need - and then

                 some - to make sure each item arrives in perfect condition.”

            •    Defendant's website also represents to consumers that they should purchase its

                 "Elite" level of services because, among other reasons, its "specially trained

                 movers understand they're handling something valuable and wrap your possessions

                 with care.”

            9.              On or about September 20, 2018, Plaintiffs contacted Defendant, seeking

            to have certain personal property moved from an apartment in Manhattan, New York

            to a storage facility owned and operated by FlatRate at 99 Evergreen Ave, Newark,

            New Jersey 07114. Those items consisted of various high-value furnishings and other

            high-value items, as in the following examples:

                        •    Longhi rare marble one-of-a-kind dining room table, purchased for

                             $51,600.00 from Elite Light and Living, LLC, DBA Elite Home,

                             described as “Clairmont dining table in matt satined bronze structure

                             base covered p9 nabuck 8010/pallisandro onicaito marble top

                             /250x1100cm.

                        •    Longhi living room sofa, leather frame, p9 nabuck 8010 L315 H87 cm,

                             purchased for $23,550 from Elite Light and Living, LLC, DBA Elite

                             Home.

                        •    Longhi bed, king size, 200x200 cm pelle leather luxury p15, cover

                             completely in leather, purchased for $18,300.00.

                        •    Fendi designer cabinet, purchased for $41,000.00.

                        •    A complete wardrobe collection of shoes, shirts, sweaters, pants, cashmere

                             suite and blazers, handbags, from Loro Piana, Berluti, John Loab, Eton,


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                           Turnbull & Asser, Brunello Cuccinelli, Babyz, Hermes, Dior.

                      •    Baccarat Crystal vases and candle holders, purchased for $20,000.00.

                      •    Christofle, three sets of sterling silver flatware, purchased for $10,500.00.

                      •    All items in total were believed by Plaintiffs to be worth in September,

                           2018 at least $625,000.00.

            10.           On or about September 19, 2018, Plaintiffs submitted an online

            application via Defendant’s website. Plaintiffs received an email reply from Defendant

            saying that a FlatRate employee named Mr. Laurence Yates (herein, "Mr. Yates")

            would come to Plaintiffs address on 92nd Street in Manhattan’s Upper East Side (205

            East 92nd Street, Apt. 37A, New York, NY 10128) to conduct a free on-site estimate

            on Thursday, September 20, 2018 between 8:00 a.m. and 8:30 a.m. Mr. Yates did

            indeed appear at Plaintiffs address. During the free on-site estimate process, Mr. Yates

            made very careful and detailed notes of the various high-value furnishings and other

            high-value items within Plaintiffs apartment. Mr. Yates highly recommended

            FlatRate’s “Elite” level moving plan, agreeing to perform the move on September 29,

            2018 and to provide its “Elite” level of moving services, in exchange for an up-front

            payment of $4,780.00 (the “Elite Move Plan”), a far more expensive price than a

            “regular move”. Mr. Yates stated unequivocally that all the high-value furnishings

            would be “fully protected” if Plaintiffs purchased the much more expensive “Elite”

            service from FlatRate. AT NO TIME WHATSOEVER DID DEFENDANT’S

            EMPLOYEE MR. YATES OFFER ANY ADDITIONAL INSURANCE

            COVERAGE ON THESE ITEMS, NOR DID HE INDICATE THAT ANY SUCH

            COVERAGE WAS EVEN NEEDED. MR. YATES AFFIRMED REPEATEDLY

            THAT ALL HIGH-VALUE POSSESSIONS WOULD BE “COMPLETELY

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            AND FULLY COVERED” UNDER THE “ELITE” LEVEL OF FLATRATE

            SERVICE.

            11.         In heavily promoting the “Elite” level of service, Defendant was duty-

            bound to ensure that Plaintiffs possessions would not be damaged while they were

            being moved, stored, and otherwise entrusted in its care. Plaintiffs were told by

            Defendant’s employee Mr. Yates that the "Elite" moving services would cost MUCH

            more but provided the additional benefit of being especially suited for moving high-

            value articles. FlatRate assigned a Move ID: #957702 to this “Elite” service move,

            scheduled to take place on September 29, 2018.

            12.         In sum, Plaintiffs were induced by Defendant to believe that, by purchasing

            Defendant's "Elite" moving services, not only would the possessions receive extra care

            during the move, but also would be fully and promptly indemnified in the event any harm

            was caused to them, both during the move-out into FlatRate storage, and subsequently

            during the move-in from FlatRate storage to the new apartment.


            13.         On September 29, 2018, certain of Defendants' employees arrived at Plaintiffs

            apartment in Manhattan and inspected the items to be moved. All high-value items to be

            moved were then in excellent condition.

            14.         On or about September 29, 2019, Plaintiff tendered items consisting of

            high-value furniture and other household goods for motor vehicle transportation from

            205 East 92nd Street, Apt 37A, New York, New York 10128 to a storage facility owned

            and operated by Defendant at 99 Evergreen Ave, Newark, New Jersey 07114 (the

            “Interstate Shipment”).

            15.         In consideration of certain freight moving charges of $4,780.00 paid to

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            Defendant, FlatRate agreed to transport said Interstate Shipment to destination in good

            order and condition.

            16.          In selling the FlatRate storage facility in New Jersey, Defendant’s

            employee Mr. Yates explained that although the storage came with a substantial

            monthly cost, it also came with a two-fold commitment from FlatRate: (i) that all items

            would be carefully stored in a climate-controlled and sealed storage environment; and

            (ii), that all delicate expensive household furnishings and similar items would be well-

            wrapped and insulated with many layers of protective blankets and plastic wrapping

            to prevent damage during storage, and subsequently upon move-out into a move-in

            location later on.

            Plaintiffs high value items and purchase of FlatRate’s “Elite” moving services –
            THE MOVE IN FROM FLATRATE STORAGE TO NEW APARTMENT

            17.          Plaintiffs high-value household items remained in FlatRate storage at 99

            Evergreen Ave, Newark, New Jersey 07114, from September 29, 2018 through July 5,

            2019.

            18.          On or about June 25, 2019, Plaintiffs contacted Defendant’s employee Mr.

            Yates to arrange for a “Elite White Glove” move-in from FlatRate storage operated by

            Defendant at 99 Evergreen Ave, Newark, NJ 07114 to the new apartment MOVE-IN

            address of 165 Charles Street, Unit # 20, New York, NY 10014.

            19.          Defendant’s employee Mr. Yates confirmed further specifics IN AN

            EMAIL, which he sent on June 25, 2019 at 3:57 p.m. EDT (PLEASE SEE

            PLAINTIFFS EXHIBIT 1), in which he described that the FLAT RATE moving crew

            would “load the move the night prior hence they will arrive 9-10 am.” on July 5, 2019

            – the morning of the MOVE-IN, FlatRate # 958880.

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            20.          This written promise by Defendant’s employee Mr. Yates turned out not to be

            the case at all. The FLATRATE movers did arrive around 9:30 a.m. EDT on Friday

            morning, July 5, 2019. However, during the move-in process, the Defendant’s MOVING

            CREW FOREMAN discovered that approximately one-half of the MOVE-IN high-value

            household items were NOT LOADED ON THEIR TRUCK and were actually still sitting

            in the Defendant’s storage facility at 99 Evergreen Ave, Newark, NJ 07114.

            21.          These missing move-in inventory items that Defendant’s MOVING CREW

            FOREMAN discovered were not loaded on their truck were not small items or anything

            otherwise easy for a person to overlook – these items included, for example, most of the

            pieces of a very large bespoke living room couch, large mattress and box spring sets from

            two large beds, and a very large and heavy custom rare marble table top for the dining

            room table (valued at $51,600) which completed a matched-set with the rare marble-topped

            coffee table for the living room.

            22.          On or about 1:30 p.m. EDT on this same day, when the Defendant’s MOVING

            CREW FOREMAN brought this matter to Plaintiffs attention, Plaintiffs reached out

            directly to Defendant’s employee Mr. Yates and also to Defendant’s dispatch center which

            Plaintiffs are informed, and on that basis believe, is located at 27 Bruckner Blvd, Bronx,

            New York 10454. Defendant’s employee at the dispatch center, who identified himself as

            ANTHONY, stated that he would look into the situation.

            23.          On or about 2:00 p.m. EDT of this same day, approximately half an hour later,

            Plaintiffs reached Defendant’s employee ANTHONY again at Defendant’s dispatch center.

            ANTHONY stated that the FLATRATE storage facility in Newark had finally located the

            other half of the move-in items and that a separate FLATRATE moving crew was being

            dispatched to pick the items up at the FLATRATE storage facility at 99 Evergreen Ave,
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            Newark, NJ 07114 and bring them to the MOVE-IN address 165 Charles Street, Unit # 20,

            New York, NY 10014. Defendant’s employee ANTHONY stated that the new crew should

            take about three hours to load all the items and bring them to the MOVE-IN address, and

            so would estimate the second moving crew’s arrival at about 5:00 p.m. EDT on that same

            day.

            24.         On or about 3:00 p.m. EDT on that same day, the Defendant’s MOVING

            CREW FOREMAN stated that he and his crew had completed the move-in insofar as that

            pertained to the one-half of the MOVE-IN high-value household items that had been loaded

            onto his FLATRATE moving truck, and that the crew wanted to leave at that time.

            However, this first crew left the entire MOVE-IN apartment in shambles: items strewn

            onto the floors of various rooms. (PLEASE SEE PLAINTIFFS EXHIBIT 2)

            25.         On or about 4:00 p.m. EDT on that same day, Plaintiffs called Defendant’s

            dispatch center and spoke to Defendant’s employee ANTHONY again, who stated that the

            second FLATRATE moving crew had unfortunately been sent to the wrong address to pick

            up the items, and once this error had been discovered, were re-directed by Defendant’s

            dispatch center to the correct address of 99 Evergreen Ave, Newark, NJ 07114.

            Defendant’s employee ANTHONY further stated that he now expected delivery to the

            MOVE-IN address in approximately two hours, or 6:00 p.m. EDT that same day. This left

            Plaintiffs waiting for two more hours, while no crew was present and pretty much every

            item of furniture laying around the MOVE-IN address in a disassembled state.

            26.         On or about 3:58 p.m. EDT on that same day, after checking wardrobe items,

            Plaintiffs sent an email to Defendant’s employee Mr. Yates, detailing the horrific and

            stomach-turning damages from mildew and heavy dust layers to all of the designer clothing

            and accessories which happened while in the FLATRATE storage facility for 10 months.
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            27.          In an email reply sent at 4:02 p.m. EDT on that same day, Defendant’s

            employee Mr. Yates stated that he was “very sorry to learn of these problems” and that he

            was “on phone with FlatRate management to get this addresses (sic) ASAP.” (PLEASE

            SEE PLAINTIFFS EXHIBIT 3)

            28.          On or about 5:23 p.m. EDT on that same day, Plaintiffs received an email

            from Defendant’s employee Mr. Brian Nalty, in which he identified himself as Defendant’s

            “Manager of Client Relations”. The email advised Plaintiffs to “please accept our sincerest

            apologies for any damages that may have occurred during your move”. (PLEASE SEE

            PLAINTIFFS EXHIBIT 4)

            29.          On or about 5:45 p.m. EDT on that same day, the second FLATRATE moving

            crew and truck arrived at the MOVE-IN address, 165 Charles Street, Unit # 20, New York,

            NY 10014. Plaintiffs went downstairs to meet them. Defendant’s employee SECOND

            MOVING CREW MEMBER introduced himself to Plaintiffs as Darko (herein,

            “DARKO”).

            30.          On or about 6:00 p.m. EDT on that same day, Defendant’s employee DARKO

            stated that he was with only one other moving team member in that second FLATRATE

            truck, and that he had been told to meet the FOREMAN from the first FLATRATE truck

            which had arrived earlier in the morning of that same day. When Plaintiffs told DARKO

            that the FLATRATE FOREMAN from the first moving truck and his crew had already left

            for the day, Defendant’s employee DARKO stated that he had “been lied to” as he had

            been told to meet with the FLATRATE FOREMAN and his crew there and that he

            (DARKO) had more than 385 square feet of very heavy items loaded on his truck and also

            had been given no tools with which to assemble the furniture and other items since

            presumably the FOREMAN from the first moving team would already have all of these
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            tools and extra crewmen to help facilitate the second part of the MOVE-IN. DARKO

            further explained that the 385 square feet of heavy items on their truck would, for the most

            part, be too heavy for them to unload without at least a third moving crewmember, and

            even if they were able to move it off of their second truck, they had not been given any

            tools to re-assemble any of the furniture items with.

            31.          On or about 5:49 p.m. EDT on that same day, Plaintiffs reached out again to

            both Defendant’s employee Mr. Yates and Defendant’s employee ANTHONY at the

            FLATRATE dispatch center to apprise both of this terrible situation. Mr. Yates texted

            Plaintiffs to advise that another Defendant’s employee, a second Foreman (herein,

            “SECOND FOREMAN”), was being sent out to assist DARKO and the other FLAT RATE

            moving employee with the move-in. (PLEASE SEE PLAINTIFFS EXHIBIT 5)

            32.          On or about 6:15 p.m. EDT on that same day, Plaintiffs reached Defendant’s

            employee ANTHONY at the FLATRATE dispatch center, who confirmed that a

            FOREMAN had in fact been dispatched from Defendant’s office at 27 Bruckner Blvd,

            Bronx, New York 10454, and was currently on his way to the MOVE-IN address in an

            Uber car.

            33.          On or about 6:45 p.m. EDT on that same day, Defendant’s SECOND

            FOREMAN arrived and joined DARKO and the other FLATRATE moving crew member

            with tools. However, although Defendant’s SECOND FOREMAN did have all the tools,

            he did not know anything at all about how to re-assemble all of the furniture items such as

            the living room couch, the two beds in the master and guest bedroom, the living room and

            dining room tables, and similar items. Plaintiffs were forced to actually assist them and

            guide them to assemble each and every furniture item on the MOVE-IN list.

            34.          On or about 7:27 p.m. EDT on that same day, photographic records confirmed
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            that Defendant’s employee DARKO discovered that the rare marble table top had been

            stored by Defendant in a regular wooden crate without any proper padding or wrapping of

            any kind around the rare marble table top item inside, and the entire three-person moving

            crew confirmed that it was no wonder that the rare marble had shattered into pieces

            inside the crate. (PLEASE SEE PLAINTIFFS EXHIBIT 6) NOTE: The rare marble one-

            of-a-kind table top actually stayed on the second truck during the entire move-in, as

            Defendant’s SECOND FOREMAN and other workers including DARKO insisted on

            bringing it back to FLAT RATE’S storage facility at 99 Evergreen Ave, Newark, NJ 07114

            for Defendant’s employees there to personally and visually inspect the utter destruction

            and pulverization of the rare marble table top into many small pieces while still supposedly

            “safely packed” within the wooden moving crate.

            35.          On or about 9:59 p.m. EDT on that same day, Defendant’s employee DARKO

            signed a formal written statement, witnessed by Plaintiffs, in which DARKO stated that he

            had personally observed the very rare marble table top on the moving truck as being

            completely shattered while still inside of the plain wooden crate it was packed in. This

            statement was photographed by Plaintiffs and a copy of said signed and witnessed written

            statement was then emailed by Plaintiffs to Defendant’s employee Mr. Nalty. (PLEASE

            SEE PLAINTIFFS EXHIBIT 7)

            36.          On or about 10:12 p.m. EDT on that same day, Plaintiffs emailed Defendant’s

            employee Mr. Yates a photograph of the signed and witnessed formal written statement (as

            described in Paragraph 34 above). In an email reply to Plaintiffs on or about 10:25 p.m.,

            Defendant’s employee Mr. Yates replied “Noted”.

            (PLEASE SEE PLAINTIFFS EXHIBIT 8)

            37.          On or about July 5, 2019 the said Interstatement Shipment was extensively
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            damaged during transportation by FlatRate. As a consequence, thereof, FlatRate failed to

            deliver the Interstate Shipment to destination in good order and condition.

            38.          By virtue of the Defendant’s failure to make delivery of said Interstate

            Shipment in good order and condition, Plaintiffs sustained damages in the amount of SIX

            HUNDRED TWENTY FIVE THOUSAND DOLLARS ($625,000.00).

            39.          On or about 10:52 a.m. EDT on Tuesday, July 9, 2019, Plaintiffs emailed a

            FULLY-SUPPORTED AND COMPLETED FLATRATE CLAIM FORM to Defendant’s

            employees Mr. Yates and Mr. Nalty, as well as to Defendant’s Claims department’s email

            address of claims@flatrate.com. (PLEASE SEE PLAINTIFFS PHOTO ARCHIVE

            EXHIBIT 9)

            40.          On or about 11:51 a.m. EDT on Tuesday, July 9, 2019, Plaintiffs received

            what appeared to be a form-letter email reply from Defendant’s claims department,

            acknowledging the claim.

            41.          On or about August 5, 2019, Plaintiffs received an email from Defendant’s

            claims   department    awarding    compensation     for   $600    (covering   “extenuating

            circumstances” with the move, and $400 refund for the cash tip that Plaintiffs paid to

            Defendant’s FOREMAN during the first half of the MOVE-IN on July 5, 2019, coming to

            a total amount of $1,000. Defendant presented this check for $1,000 to Plaintiffs as a “full

            and final settlement to claim # 958880” which Plaintiff filed on or about July 9, 2019.

            42.          Inasmuch as Defendant’s employee Mr. Yates represented unequivocally that

            FlatRate’s “Elite” service would cover and “fully protect” all the high-value furnishings if

            Plaintiffs purchased the much more expensive “Elite” service from Defendant’s employee

            Mr. Yates, Defendant’s “settlement offer” was a complete travesty, and did not even begin

            to cover or compensate Plaintiffs for the unquantifiable cost, time and energy that it takes
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            to go around the world to find, select and purchase these fine high-value furnishings, then

            wait for months for them to be custom made and delivered.

            43.          On or about August 5, 2019, Plaintiffs called Defendant’s claims department

            to reject this “settlement offer” as wholly and egregiously inadequate on its face.


            WHEREFORE, Plaintiffs respectfully prays for judgment to be entered in their favor

            and against Defendant, FlatRate, in the amount of SIX HUNDRED TWENTY FIVE

            THOUSAND DOLLARS ($625,000.00) plus pre-judgment interest, post-judgment

            interest, and such further relief as the Court and jury deems just.




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                                     CIVIL RICO CAUSE OF ACTION
                                      CLASS ACTION COMPLAINT


                                      CLASS ACTION ALLEGATIONS

            44.          Plaintiffs bring this action on their own behalf and on behalf of the following

            Class (“the Class”). The Class is initially defined as follows:

                                •   All individuals who, between 2009 and 2019, paid FlatRate to

                                    move their household goods and items, which were in good

                                    condition when they were tendered to FlatRate for moving, and

                                    where said household goods and items were either completely

                                    lost or were delivered by FlatRate in damaged condition; and,

                                    whom requested compensation or filed a claim but did not

                                    receive an offer of any compensation whatsoever (or an offer of

                                    minimal compensation) from FlatRate – regardless of whether

                                    or not those individuals purchased insurance for their move.

            45.          Excluded from the Class are:

                                •   (a) any employees of Defendants, including any entity in which any

                                    of the Defendants has a controlling interest, is a parent or a

                                    subsidiary of, or which is controlled by any of the Defendants;

                                •   (b) the officers, directors, and legal representatives of Defendants;

                                    and

                                •   (c) the Judge and the court personnel in this case as well as any

                                    members of their immediate families. Plaintiffs reserve the right to

                                    amend the definitions of the Class if discovery, further


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                                    investigation and/or rulings by the Court dictate that they should be

                                    modified.

            46.           Typicality. Plaintiffs’ claims are typical of other Class Members because

            Plaintiffs’ bad moving experience with FlatRate, and resultant lack of compensation from

            FlatRate for severely damaged household goods and items are similar to many other

            individuals as evidenced on popular social media websites, e.g.: Yelp.com,

            movingscam.com, GlassDoor.com, Indeed.com and several more. (PLEASE SEE

            PLAINTIFFS EXHIBIT A)

            47.          Adequacy of Representation. Plaintiffs will fairly and adequately represent

            and protect the interests of the Class Members. Plaintiffs’ claims are typical of the claims

            of other Class Members, and Plaintiffs have the same non-conflicting interests as the other

            Class Members. Therefore, the interests of the Class Members will be fairly and adequately

            represented by Plaintiffs.

            48.          Superiority of Class Action. A class action is superior to other available

            methods for the fair and efficient adjudication of this action. The adjudication of this

            controversy through a class action will avoid the possibility of inconsistent and potentially

            conflicting adjudications of the asserted claims. There will be no difficulty in the

            management of this action as a class action, and the disposition of the claims of the Class

            Members in a single action will provide substantial benefits to the parties and to the Court.

            Damages for many, if not all, individual Class Members may be insufficient to justify the

            cost of individual litigation so that, in the absence of class treatment, Defendants’ egregious

            behavior which directly and proximately inflicted substantial damages in the aggregate

            would go un-remedied.

            49.          Class certification is also appropriate because the Defendants have acted or
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            refused to act on grounds generally applicable to the Class, such that final relief is

            appropriate to the Class as a whole.

                     LEGAL BASIS FOR RELIEF – CIVIL RICO CLASS ACTION


                      (Defendants Flat Rate Movers, Elite Services, and Elite Moving: Civil RICO, 18
                      U.S.C. Sec. 1962(c), 1964 et al.)


            50.           Plaintiffs incorporate by reference Paragraphs 1 through 6, and Paragraphs

            43 through 49 as if more fully set forth herein.

            51.           Together, Flat Rate Movers, Elite Services, and Elite Moving constituted

            an “enterprise” as defined by 18 U.S.C. Sec. 1961(4) (herein “the FlatRate

            Enterprise”), that is, an association of entities engaged in, and the activities of which

            affected intrastate, interstate and foreign commerce (herein “the Enterprise”). The

            FlatRate Enterprise constituted an ongoing organization whose members functioned

            as a continuing unit for a common purpose of achieving the objectives of the

            Enterprise.

            52.           During a period of at least 10 years, stretching back from 2019, the

            FlatRate Enterprise operated in an illegal manner, and participated in numerous overt

            acts.

            53.           In furtherance of the illegal goals of the FlatRate Enterprise, defendants

            conspired with each other to violate 18 U.S.C. Sec. 1962(c), that is, to conduct and

            participate, directly and indirectly, in the conduct of the affairs of the enterprise

            through a pattern of racketeering activity, as defined in 18 U.S.C. Secs. 1061, 1062,

            and 1964; consisting of multiple illegal acts indictable under:




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                      a. 18 U.S.C. Sec. 1341 (relating to mail fraud);

                      b. 18 U.S.C. Secs. 1341 and 1346 (relating to honest services mail fraud);

                      c. 18 U.S.C. Sec. 1343 (relating to wire fraud);

                      d. 18 U.S.C. Secs. 1343 and 1346 (relating to honest services wire fraud);

                          and

                      e. 18 U.S.C. Sec. 1961(1)(659) (relating to theft from interstate shipment);

            54.         The Plaintiffs herein, and all Class Members, have standing to bring a claim

            under civil RICO because each of them has suffered a concrete and distinct injury – at a

            minimum, the payment of fees from Class Members to defendant FlatRate for intrastate,

            interstate and foreign moves of their household goods and valuable items, only to receive

            said household goods and valuable items in severely damaged condition and offered

            nominal compensation (if offered anything at all) for aforementioned horrific and utter

            destruction of their household valuables – regardless of whether or not they purchased

            insurance and/or purchased defendants’ Elite White Glove moving service. PLEASE SEE

            PLAINTIFFS EXHIBIT A ANNEXED HERETO BELOW – in which 154 customers

            reported predicate actions on YELP.COM) during the past 10 years where they suffered

            damages in circumstances similar to Plaintiffs; 20 customers reported predicate actions on

            MYMOVINGCOMPLAINTS.COM during the past 10 years; 24 customers reported

            predicate actions on TRUSTPILOT.COM during the past 10 years; 11 customers reported

            predicate actions on ANGIE’SLIST.COM during the past 10 years; more than TWO

            DOZEN FLATRATE EMPLOYEES corroborate and document the Defendant’s corrupt

            enterprise and its culture of conspiracy within comments written on public social media

            websites, e.g., INDEED.COM and GLASSDOOR.COM (PLEASE SEE PLAINTIFFS

            EXHIBIT B ANNEXED HERETO BELOW).
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            55.             The FlatRate Enterprise has conducted a racketeering operation for more than

            a decade, as illustrated and proven by records within PLAINTIFFS’ EXHIBIT A.

            Specifically,     PLAINTIFFS        NOTE    THAT      THE    PATTERN       OF    ILLEGAL

            RACKETEERING FOLLOW A PATTERN SIMILAR TO THE EXPERIENCE OF

            PLAINTIFFS, AS CORROBORATED BY BOTH PLAINTIFFS’ EXHIBIT A and

            PLAINTIFFS’ EXHIBIT B, BOTH ANNEXED HERETO BELOW:

                       • a. The FlatRate Enterprise sold an expensive package of household moving

                             services known as “ELITE WHITE GLOVE” to its unsuspecting customers,

                             and/or otherwise would sell a regular package of “elite” moving services to

                             those customers.

                       • b. On the day of the move, the FlatRate Enterprise did not fulfill its customer

                             expectations of “ELITE WHITE GLOVE” service or even regular moving

                             service by instead sending crews with about half as many movers as was

                             originally agreed to, thereby resulting in tremendous damages to its

                             customers household goods as the limited-size moving crew battled the

                             move deadline clock to complete the customers move within the allotted

                             time – by any means necessary.

                       • c. After delivery of the household goods at the destination, customers would

                             suffer heavy damages to their household possessions – irrespective of the

                             type of service (ELITE or REGULAR) which they had contracted for.

                       • d. The FlatRate Enterprise would largely ignore customer’s attempts to reach

                             them to discuss their damaged goods for very long periods of time.

                       • e. IF and WHEN the customers finally did connect with the FlatRate

                             Enterprise, they would receive minimal compensation for their heavily
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                                     damaged             household          goods          and        valuable          items,        irrespective                of     whether         or



                                     not    they    purchased            moving           insurance,             or additional              moving              insurance          at all.


                           •    f.    The       FlatRate        Enterprise           has         continued              this      cycle         of    illegal       activities          for



                                     more        than      10   years       unabated:             enriching              itself      and        its    owners            through         its



                                     illegal       RACKETEERING                          activities          at the      great      expense             and      suffering         of    its


                                                                                                                                                                faith"
                                     customers            who        continue       to     be    induced           to     engage          "in        good                   with     The



                                     FlatRate           Enterprise        even      to this           very    day.



            56.                 .    IN         FURTHER                SUPPORT                  OF       PARAGRAPH                          55,        THE             FLATRATE


            ENTERPRISE'S                   PATTERN              OF ILLEGAL                    RACKETEERING,                               PLAINTIFFS                     INCLUDE


            THIS     SPREADSHEET,                          BELOW,               A   PARTIAL                    EXCERPT                     SUMMARIZING                             THE


            ACTUAL             COMPLAINTS                       OF       FLATRATE                       CUSTOMERS                         AS          CHRONICLED                         IN



            VARIOUS            PUBLIC              SOCIAL             MEDIA          RECORDS                     (THERE               ARE             MORE               THAN           150


                                                 PLAINTIFFS'
            COMPLAINTS                     IN                                   EXHIBIT                 A FROM                 YELP.COM                     ALONE):




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                                                                                                     PLAINTIFFS'
                                                                                                              EXHIBIT
                                                                                                                    A
                                     DAMAGE       COMPENSATION
                                      VALUE         RECElVED                      CONSUMERCOMPLAINTEXCERPT- DIRECTQUOTATION

                        MikeK.                                 "PleasebewareFlatRateMoving.Thiscompanywill destroyyour highticket itemsandgodarkwhen
            1/21/2019
                                     $9,000.00       $40.00    youfile aclaimappeal."

            8/23/2019   JohnJ.                                 "Worstmoveever.Donot hirethesecriminals.Theywill damageyour belongingsandthen they will
                                                               not return phonecallsor take responsibility.Theyare liars."
            6/29/2019   ChantelF.                              "If I couldgiveazerostarrating.I would."
            6/18/2019   NahalN.                                "Theytend to mistreattheir customersandthere is a lot of variancein the quality of employeesyou
                                                               comeacross.
                                                               "Ruinedascreenthat I boughtin Mexico.It wasaoneof a kind andvery specialto me...very
            11/16/2018 RosaleeS.
                                                               disappointedandheartbrokenabout my losses!"
                                                               "flatrate moversflatrate losers!!arethe worst!!!!don't do it!!... they hadlost over$34,000of
            5/21/2019   AlexW.                                 chandeliers..."
                                     $34,000.00
                                                               "Thiswasaterrible experience...Theylost acomputerscreen,4 plants,andcrackedour marbletable.
            10/3/2019   SahanaS.                               Thepersonthat set up the movefor usrefusedto respondto our multiple emailsandcallsafter the
                                                               move."
                                                               "Severalbrokenitems...I waswaiting patiently [for the claimsdepartment]for 2 monthsbut now I am
            12/3/2019   JD.
                                                               beingignored.
            4/5/2019    VeronicaL.                                                                                              filled."
                                                               "My dress[er]camebrokenandI filed aclaimandI haveyet to seeit be
                        Victir J.                                                              worst."
            1/18/2019                                          "stayawayfrom this company.the
                                                               "Not afan.Wehired Flatratefor a movefrom NYCto Montreal,andhalf ourfurniture arrivedwith
            2/26/2019   MichelB.
                                                               only 3 legs.
            9/27/2017                                                                            FURNITURE."
                        CindyC.                                "STAYAWAYIFYOUHAVEEXPENSIVE

            7/26/2019   DanaP.                                          expensivesunglasses
                                                               "TheySTOLE                 andother items, brokethe legscleanoff mybookcase,and
                                     $3,000.00       $650.00   damagedmy piano,TVand manypiecesof furniture."
            8/28/2019   EmmalineK.
                                                               "I hada horribleexperiencewith Flatrate...they alsodamageda lot of my furniture duringthe move."
                                                               "Disaster...Lotsof damageto personalitems...I amEXTREMELY disappointedwith their services,in
            7/17/2019   MelissaH.
                                                               particularcustomerservicewho failed to everfollow up."

            8/25/2018   LeeO.                                  "If I couldgive zero,I would. TheyAREscumbagsandcheats.Brokenfurniture, stolenor lost designer
                                     $3,000.00       $312.00   clothing;A full lengthmirrorandbookcasewere taken."

            5/28/2019   AliceS.                                "Donot usethis company!...their guysstole our bikes,a boxof valuables,a family heirloomand
                                                               more.Wecalledto complainandthe companyblew usoff."
            5/17/2018   JustinO.                               "Reallyterrible experiencewith them. Theylost4 of my lampsin the move(noexplanation)...not
                                                                                                   company."
                                                               getting muchof a responsefrom the
                                                               "...onlysent3 peopleto do what wassupposedto be done by a muchlargerteam, I think...Whatis
                                                               inexcusableisthat customerservicehasbeen dodgingmycalls,ignoringmyemails,refusingto take
            7/25/2019   EmilyI.                                                                                         glove" service,full packandunpack.
                                                               any responsibility...P.S.this wassupposedto bethe "white
                                                               And...it did not go well."
                                                               "Flatratedamageda piano...Asof now, Flatratehasnot providedaqualified solutionasof today.The
            12/10/2018 KL.
                                                               pianoremainsdamaged.

            1/2/2018    ChristyS.                              "I've moveda handfulof other times andI'veneverhadanexperienceasterrible asFlatRate.I paid
                                                               for the mostamountof insurancepossible,but ultimately it didn't matter."

                                                               "Thiscompanyis HORRIBLEl   UNPROFESSIONAL,  they hire DISREPUTABLE people! Youhide behindyour
            6/1/2019    MaddieF.
                                                               .65cper pound law, but canyou honestlyput your headon your pillow at night knowingthat people
                                     $15,000.00                get hurt by your neglect."

            7/8/2017    KristinaS.                             "Worstexperienceever!... My nice55'flat screentv went missing.No body hasreachedout to me,
                                                               returned my callsandwhen I callI continueto get the runaround."
                                                               "DONOTDOBUSINESS      WITHTHEM.Theirmoversdamagedmy houseand mygoods,did not unpackas
            10/25/2018 EmilieP.                                percontractandthreatenedmeto closethe contract...Notgoodservice.Not Honest.WorstmoveI
                                                               everhad   ..."
                                                               "I noticedseveralitemsmissing.A largeantique mirror, simple step stool ...they damagedthe legsof
            8/15/2018   M M.
                                     $10,000.00      $250.00   a hutchI have...andthe backof my antiquecouchis damaged."
                                                               "My husbandandI chosethis companybecauseof their insurancecoverage.Inthe end, it wasnot
            4/7/2019    Ann R.                                 helpful becausethey didn't actuallycoverthe costof a pieceof expensivefurniture that they
                                                               damaged."
                                                               "Thiscompanyis adisaster!Theystole, smashedandmisplacedover$10,000worthof personal
                                                               items...If youtreasureyour belongings,DONOTHIREFLATRATE!      I cannotstresshow badthis
            2/12/2018   OliviaS.
                                                               expeiriencehasbeenandthere havebeenabsolutelynocommunications- if you are missingor have
                                     $10,000.00      $800.00   brokenitemsthey'll just ignoreyou.
            8/12/2019   AdamI.                                 "Lies,delaysandpoorcustomerservice..."
            8/5/2017    AverageJ.
                                                               "Speakerscrammedloosein with end tables,stuff brokenandnosignof the feet for my sofa."
                                                               "Moverslost/stole boxes.I got $200for over$1000in losses.Don'ttrust this companywith your
            8/20/2018   LisaM.                                 move."
                                     $1,000.00       $200.00
                                                               "While Laurence[Yates]haddiscussedit wasafour or evenfive personjob, consideringthe walk-up,
            2/14/2019   EricS.
                                                               Flatrateonly sent3 mento moveusout."
                                                               "...they proceededto lose nearly$4,000worth of mythings,andthen only offered $800asa
            4/8/2017    ChelseaA.
                                     $4,000.00       $800.00   replacement.Virtually nothingwasdoneto find the lost boxes...Don'tusethis company."
                                                               "... my thingswere broken,suchasmy antiquemarbletop dresser.Themarblewascracked2 places
            5/16/2018   A. P.                                  andthe woodframe completelycompromised.My roadbikewasscratched.My toasteroven
                                                               destroyed."
                                                               "HEADLINE    HEREISTHEYWILLBREAK  YOURFURNITURE   ANDTHENNOTPAYTOREPLACE        IT.DONOTUSE
            3/12/2018   Matt M.
                                                               THISMOVER."

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            57.                     In      further         support            of     Paragraph              55      above,           the        Plaintiffs               include          statements


                                                                                                                                                 fire"
            from     Defendant's                 own       employees                 documenting                  their      "Quick                            culture         on public             social



            media      websites             such        as GLASSDOOR.COM                                     and       INDEED.COM.


                                                                                                              PLAINTIFFS'
                                                                                                                                      EXHIBIT B
            DATE                                             FLATRATE               EMPLOYEE              COMPLAINTS                  EXCERPT                  - DIRECT QUOTATIONS


            12/7/2015                                                                                                                                          life."
                                   "Modern            Day Sweatshop.                 The lack of pay, respect                    and quality             of
                                   "Draining            and unreliable.              Company         does not appreciate                    hard work              and is willing           to replace        any worker
            1/28/2016
                                   at anytime             for any reason...
                                                                                                                                                                          environment."
            6/7/2016               "Worse          place to work           ever.       Never        experience            a worse       workplace                and
                                   "Flatrate          was a very stressful                  company        to work         for. There           was always               a fear of losing         your job at any
            1/2/2018
                                   given       time.


            7/13/2017              "Do not work              here.      I would        highly       suggest       that you do not! This company                               has a lot of issues,             this is not
                                                                                                                                                                                                                      bad."
                                   a company              you can grow              at. There       are no perks to working                      here everything                   about     the company           is
                                   "Stay away, far far away!                        It's a revolving         door company...                The management                         is terruble,      it's basically      a
            7/10/2017              dictatorship..."

                                   "The place was rife with                     unscrupulous               sales tactics,          managemen                   was non existant,               the only emplasis
            1/11/2017                                                                                        later."
                                   was to get paid and deal with                            problems
                                                                                                                                 scammed!!!!"
            3/4/2019               "You can do better                  for yourself.           Clients      are always
                                                                                                                                                                                                            absurd."
            7/6/2018               "They take advantage                     of minimum              wage workers                 and make             millions          at the same time.             Its

            5/9/2018                                                                                                                                                                                             reason."
                                   "Worst        job I ever had. I saw many good workers                                    either        quitting            or getting      fired     for little     to no
                                   "A terrible            company        to work  for. Employees     are treated                            like slaves...              This company           is getting       away
            12/28/2019                                                                     animals."
                                   with       slavery.      They treat          peoplelike
                                                                                                    management."
            8/22/2014              "Not        a good company              to work for. Horrible
                                                                                                                                                                  worse."
            7/3/2015               "Horrible.           Upper      management                is horrible         and arrogant...pay                   is the
                                   "My integrity             is not for sale. Flatrate                moving           in New York City requires                           its employees          to lie to the
            5/15/2015              moving        public. My managers                        would     create       lies for me to relay to the clients                               when      we would         not
                                                    promised."
                                   deliver       as
                                                                                                                                                                         everyone."
            4/8/2016               "...this     company           doesn't       care about           employees             its sad how they treat
                                   "Under        Staffed        too often. The quality                    care for customers                                        must      improve         - No sustainable
                                                                                                                                             belonging
            1/29/2017                                              workers."
                                   effort       from      other
                                                                                                                                      operation."
            11/18/2016             "This place is truly                a disaster.          This is a revolving             door
                                                                                                                                                                                                  office..."
            5/23/2019              "Toxic       Work       Environment.               Unhealthy           behavior,         yelling       and bullying                  is allowed      in the
                                   "Not        for everyone.           Very poor communication                            from     management.                   Low pay poor benefits                      Quick fire
            8/13/2019
                                   culture.



            58.                     The         illegal         acts      in        furtherance              of      the     enterprise                  by        Defendants                FlatRate



            caused       direct          and     proximate                damage              to    the     Plaintiffs              and         the      Class           Members.



            59.                     Accordingly,                     Plaintiffs,              on    behalf           of    themselves                    and        the      Class         Members,


            brings      this      Count          1 under             18 U.S.C.               Sec.         1964(c),           which          provides:



           Any     person         injured          in     his     business             or     property            by       reason          of     a violation                 of     section          1962




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           of   this    chapter         may           sue     therefor          in     any       appropriate           United           States       district     court         and     shall



           recover       threefold              the    damages            he         sustains        and    the      cost     of the      suit,      including          a reasonable



           attorney's        fee        ...


                                                                  PLAINTIFFS'
           WHEREFORE,                         AS      TO                                         CIVIL          RICO         CLASS             ACTION             COMPLAINT,


           Plaintiffs        pray             for     judgment             in         their       favor         on    Count         1     of      this     Complaint               against



           Defendant              FlatRate,                 for      compensatory                     damages               which         is      fair     and        reasonable             to



           compensate             the         Class         Members             for      their      damages,           for     treble      damages              and     costs      of   suit.




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                                                                           PLAINTIFFS'
                             WHEREFORE,                   AS       TO                               CARMACK                       AMENDMENT


                       COMPLAINT,                   Plaintiffs        respectfully         pray      for     judgment              to be         entered               in



                                  their     favor      and       against      Defendant,          FlatRate,           in    the     amount               of     SIX



                         HUNDRED               TWENTY                 FIVE        THOUSAND                  DOLLARS                  ($625,000.00)


                      plus   pre-judgment              interest,        post-judgment             interest,         and      such         further             relief



                                                                                             as the         Court       and       jury         deems           just.




                                                                                                              December                   31,     2019
                         Dated:      New
                         York,       New                                                           PRO            SE PLAINTIFFS                       ADAM
                              York                                                                  BAUMAN                   & ABBAS                   SHAH
                                                                                                           165     Charles        Street,         Unit         # 20
                                                                                                       New          York,      New             York      10014
                                                                                                           Tel:    (212)      772-9618




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                                                      CARMACK                 AMENDMENT                       EXHIBITS

           PLAINTIFFS                 EXHIBIT              1




           EMAIL           FROM       DEFENDANT'S                  EMPLOYEE                  MR.       YATES       DATED          June    25,    2019   at 3:57


           p.m.     EDT.




                      Re: 165      Charles    Street       #20    COI   requiremerits                                                             June 25, 2019 3:57 PM

                           From: (Laurence Yates)

                             To: (A. S. Bauman)

           Hi Adam,
           I have just received confinnation          that the crew will load the move the night prior hence they will arrive 9-10 am.
           Thanks, Laurence

           Sent from my iPhone




           PLAINTIFFS                 EXHIBIT              2

           PHOTOS            SHOWING            ITEMS            STREWN            ONTO          THE    FLOORS          OF THE           MOVE-IN


           ADDRESS              165   CHARLES              STREET         UNIT           # 20,   NEW       YORK,        NY    10014       AS


           ABANDONED                  BY THE            DEFENDANT'S                 FIRST          FOREMAN              AND       HIS    FLATRATE


           MOVING             CREW,         ON OR ABOUT                 JULY        5, 2019        AT    3:00    P.M.      EDT.




                                                                                                                                                 I




             ABOVE:          Pieces   of the un-assembled               bed   in
                                                                              .                   ABOVE:        bedframe      missing   the box spring         and
             master      bedroom      after   first     FLATRATE          movmg                                 which    turned   out to be on second
                                                                                                  mattress,
             crew     left   the move-in.                                                         FLATRATE          truck.



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           PLAINTIFFS                   EXHIBIT         3



           EMAIL           FROM         DEFENDANT'S                   EMPLOYEE               MR.    YATES        DATED             July   5, 2019      at 4:02
           p.m.     EDT.


                       Re: 958880.       165 Charles         Street   #20    COI requirements.          Need     ASAP       thanks           July 5, 2019 4:02 PM

                          From: (Laurence Yates)

                             To: (Adam Bauman)

           Adam,
           I am very sorry to learn of these problems. I am on phone with FlatRate management to get this addresses ASAP.
           Laurence

           Sent from my iPhone



           PLAINTIFFS                   EXHIBIT         4


           EMAIL           FROM         DEFENDANT'S                   EMPLOYEE               MR.    BRIAN        NALTY             DATED

           July    5, 2019      at 5:23 p.m.    EDT.
                                   - Damage Claim / Move# 958880                                                          July5,20195:23PM
                       From:(BrianNaltyI
                          To:(ab@well.com
                                        I
                          Cc:     S)
                         FlatRateMovingClaimForm_062118.pdf
                                                    (64.2KB)Download
                                                                   | Briefcase
                                                                             ] Remove
           Dear/ '-'--- ""--'-

           Pleaseacceptour sincerestapologiesfor any damagesthat may haveoccurredduring your move.

           In order to expediteyour claim, pleasefill out the attachedform (all linesshould becompletedin detail) and emailto
           claims@flatrate.com,with picturesof the items listedon the form.
           Pleasedo not sendpicturesor claimforms through foreign links(GoogleDocs,Adobe links,Shutterfly,etc.), aswe havesecurity
           measuresin placethat preventusfrom accessingtheselinks.

           Alsofeel free to includea letter detailingany other pertinent informationyou feel would help usto evaluateyour claim.

           Your reference number is 958880
           *Make sureto list all the items in your claim before sending,as additional items will not be acceptedafter submission.

           Uponreceiptof your submission,your claim will be reviewedand we will get backto you shortly.

           Pleaselet us know if you haveanyquestions,or if we can be of any further assistance.

           Kind Regards,

           Brian Nalty
           Client RelationsManager
           T:718.475.5792ext. 106
           F:718-292-9622




           PLAINTIFFS                   EXHIBIT         5

           TEXT        MESSAGE             FROM        DEFENDANT'S                    EMPLOYEE              MR.       YATES          DATED          July   5,
           2019      at 5:53     p.m.     EDT.

                                                                             Maybe:          Laurence             Yates        >




                                                         I    am        sure         foreman                is   on

                                                         his          way.       I   have

                                                         conveyed                     this         to   our

                                                         operations                     department

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           PLAINTIFFS                EXHIBIT             6


           EMAIL       LETTER              TO DEFENDANT'S                    EMPLOYEES                     MR.       BRIAN         NALTY
           AND      MR.      YATES          DATED        July      5, 2019        at 7:47        p.m.    EDT.


                                                                                                                                                      July5,20197:47PM
                    IMG_9958.jpeg
                       From: (AdamBauman)

                            To: (briannalty)(claims@flatrate.com)(laurence@flatrate.com)

                      ElMG_9958.jpeg(1.7MB)Download|Briefcase]Remove

           Hello    Brian     and Laurence,

           The rare      marble table                                                                                                               - the
                                             top was stored  in a regular crate                      without         proper  padding or wrapping
           moving     crew said that         it was no wonder that the marble                       shattered         into  pieces  inside the crate.

           It has been complete  chaos              here.    This    debacle       will        be posted       on Better      Business       Bureau     and social
           media Yelp.com and others.

           It   is 7:44 pm and the crew is still                  struggling up complete                   the move. so much property                 was damaged
                          - which was entrusted                                                                  elite"
           or   destroyed                                       to your care and "white                    glove        service.

           We need this    claim to be paid promptly,  including                           the    $85,000       marble     table     (rare    one-of-a-kind)
           plus all  clothing    damaged by mildew and dust.

           The marble        table   top    is   being   brought     back    to    you by the           crew    to    see the      damage for     yourselves.




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           PLAINTIFFS                EXHIBIT             7


           EMAIL           LETTER        TO DEFENDANT'S                       EMPLOYEES                       MR.      BRIAN         NALTY
           AND       MR.     YATES         DATED          July    5, 2019        at 10:12         p.m.        EDT.

           Signed       & witnessed        statement         of FlatRate      Employee                               as to            July 5, 2019 10:12 PM
                                                                                                 testifying

           extensive        and   catastrophic         damages      to rare      marble         table    top    in which       the

           table     top    was comp:sts:y        shattered

             From: í Adam Baumanì

                   To: Í laurence@flatrate.com I brian nalty I I claims@flatrate.com I

            TIMG_1288.jpg (3 MB) Download | Briefcase Remove




                                          WG           hAr(JLÓ                'J-f        GLS                            /     GAA//M            P




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           PLAINTIFFS                  EXHIBIT                     8


           EMAIL        ACKNOWLEDGEMENT                                          FROM          DEFENDANT'S                   EMPLOYEE                      MR.
           YATES            DATED           July      5, 2019            at 10:25      p.m.        EDT.


                      Re: Signed        & witnessed                stat:=:nt           of FlatRate        Empic,ÿéé                         as to            July 5, 2019 10:25 PM
                                                                                                                         testifying

                      extensive        and       catastrophic                damages     to rare      marble    table     top   in which            the

                      table     top   was comp!ately                    shattered

                            From: (Laurence Yates)

                              To: (Adam Bauman

                              Cc: (Brian Nalty) I              I

            Noted.

            Sent     from     my iPhone

            > On -Jul 5, 2019,              at     10:12      PM, Adam Bauman <ab@Well.com>                     wrote:
            >
            >
            >
            > <IMG_1288.jpg>
            >



           PLAINTIFFS                  EXHIBIT                     9


           PHOTO            ARCHIVE




              ABOVE:            The    Longhi          rare    marble            dining  room                ABOVE:         The       shattered           Longhi     table    top in
              table     top     shattered          in pieces           and    still on the                   FLATRATE              box      while         Defendant's        employee
              second         FLATRATE                moving            truck.                                DARKO         calls      his   dispatcher.




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                    ABOVE:        The    Longhi    dining    room table base,
                    unassembled         and awaiting      the marble  table top
                    in the second       FLATRATE          truck.                          ABOVE:            Loro     Piana,     Berluti,      John    Loab   shoes
                                                                                          with      heavy      mildew       stench       and damage.




            ABOVE:       Eton,     Turnbull         & Asset   shirts   with             ABOVE:          Loro       Piana,     Brunello        Cuccinelli
            heavy    mildew       stench      and   damage.                              sweaters      with                 mildew         stench    and damage.
                                                                                                                heavy




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                                                                                              ABOVE:         Loro       Piana,      Brunello      Cucinelli
             ABOVE:       Loro      Piana,     Brunello      Cucinelli,
                                                                                                   shmere     suits     &   blazers       with    heavy       mildew
             Berluti      abyz      pants     with   heavy    mildew      stench




                                                                                                                                                                       $9,760




                                                                                                   ABOVE:          Hermes         black    Kelly   handbag missing
                       ms d      iver        from    bo h    L    T          mov        ng
                                                                                                           items      delivered       from     both FLATRATE
                   vans   on July       5, 2019.                                                   ff°*.
                                                                                                   movmg      vans      on July       5, 2019.




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                                                                                LADY DIOR LAMBSKIN BAG


                                                                                           uameo




           ABOVE:         Lady   Dior   handbag  missing   from
           items    delivered    from    both FLATRATE      moving
           vans    on July   5, 2019.




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                                       CIVIL        RICO          CLASS         ACTION          CASE         EXHIBITS

           PLAINTIFFS               EXHIBIT          A
                                                                                                        PLAINTIFFS'
                                                                                                                 EXHIBIT
                                                                                                                      A
                                      DAMAGE       COMPENSATION
                                       VALUE         RECElVED                   PARTIALCONSUMER               - DIRECT
                                                                                              COMPLAINTEXCERPTS      QUOTATIONS

           1/21/2019   MikeK.                                      "PleasebewareFlatRateMoving.Thiscompanywill destroyyourhighticket itemsandgodarkwhen
                                      $9,000.00          $40.00    youfile aclaimappeal."

           8/23/2019   JohnJ.                                      "Worstmoveever.Donot hirethesecriminals.Theywill damageyourbelongingsandthen they will
                                                                   not returnphonecallsortakeresponsibility.Theyare liars."
           6/29/2019   ChantelF.                                   "If I couldgiveazerostarrating.I would."
           6/18/2019   NahalN.                                     "Theytendto mistreattheir customersandthere isa lot of variancein the qualityof employeesyou
                                                                   comeacross.
                                                                   "Ruinedascreenthat I boughtin Mexico.It wasaoneof akindandvery specialto me...very
           11/16/2018 RosaleeS.
                                                                   disappointedandheartbrokenaboutmy losses!"
                                                                   "flatratemoversflatrate losers!!arethe worst!!!!don'tdo it!!... they hadlostover$34,000
                                                                                                                                                         of
           5/21/2019   AlexW.                                      chandeliers..."
                                      $34,000.00
                                                                   "Thiswasaterrible experience... Theylostacomputerscreen,4 plants,andcrackedourmarbletable.
           10/3/2019   SahanaS.                                    Thepersonthat set up the movefor usrefusedto respondto ourmultipleemailsandcallsafterthe
                                                                   move."
                                                                   "Severalbrokenitems...I waswaitingpatiently [for the claimsdepartment]for 2monthsbut nowI am
           12/3/2019   JD.
                                                                   beingignored.
           4/5/2019    VeronicaL.
                                                                   "Mydress[er]camebrokenandI filed aclaimandI haveyet to seeit be filled."
           1/18/2019   VictirJ.                                    "stayawayfromthis company.the worst."
                                                                   "Notafan.WehiredFlatratefor amovefrom NYCto Montreal,andhalfourfurniturearrivedwith
           2/26/2019   MichelB.
                                                                   only 3legs.
           9/27/2017   CindyC.                                     "STAY AWAYIFYOUHAVEEXPENSlVE    FURNITURE."

           7/26/2019   DanaP.                                      "TheySTOLE                 andother items,brokethe legscleanoff mybookcase,and
                                                                            expensivesunglasses
                                      $3,000.00       $650.00      damagedmypiano,TVandmanypiecesof furniture."
           8/28/2019   EmmalineK.
                                                                   "I hadahorribleexperiencewith Flatrate...they alsodamageda lot of myfurniture duringthe move."
                                                                   "Disaster...Lotsof damageto personalitems...I amEXTREMELYdisappointedwith their services,in
           7/17/2019   MelissaH.
                                                                   particularcustomerservicewhofailedto everfollow up."

           8/25/2018   LeeO.                                       "If I couldgivezero,I would.TheyAREscumbags
                                                                                                             andcheats.Brokenfurniture, stolenor lostdesigner
                                      $3,000.00       $312.00      clothing;Afull lengthmirrorandbookcaseweretaken."
           5/28/2019   AliceS.                                     "Donot usethis company!...their guysstoleour bikes,aboxof valuables,a family heirloomand
                                                                   more.Wecalledto complainandthe companyblewusoff."
           5/17/2018   JustinO.                                    "Reallyterrible experiencewith them.Theylost4of my lampsin the move(noexplanation)...not
                                                                   gettingmuchof a responsefromthe company."
                                                                   "...onlysent3peopleto dowhatwassupposedto bedoneby amuchlargerteam,I think...Whatis
                         .                                         inexcusableisthat customerservicehasbeendodgingmycalls,ignoringmyemails,refusingto take
           7/25/2019   EmilyI.
                                                                   anyresponsibility...P.S.thiswassupposedto bethe "white glove"service,full packandunpack.
                                                                   And...it did notgowell."
                                                                   "Flatratedamageda piano...Asof now, Flatratehasnot providedaqualifiedsolutionasof today.The
           12/10/2018 KL.
                                                                   pianoremainsdamaged.

           1/2/2018    ChristyS.                                   "I'vemoveda handfulof othertimesandI'veneverhadanexperienceasterrible asFlatRate.I paid
                                                                   for the mostamountof insurancepossible,but ultimatelyit didn't matter."

           6/1/2019    MaddieF.
                                                                   "Thiscompanyis HORRIBLE!                 they hire DISREPUTABLE
                                                                                              UNPROFESSIONAL,                   people!Youhidebehindyour
                                                                   .65cperpoundlaw, but canyou honestlyputyourheadonyourpillow at night knowingthat people
                                      $15,000.00                   get hurt by your neglect."

           7/8/2017    KristinaS.                                  "Worstexperienceever!...My nice55'flat screentv went missing.No bodyhasreachedout to me,
                                                                   returnedmy callsandwhenI callI continueto getthe runaround."
                                                                   "DONOTDOBUSINESS      WITHTHEM.Theirmoversdamagedmy houseandmygoods,did not unpackas
           10/25/2018 EmilieP.                                     percontractandthreatenedmeto closethe contract...Notgoodservice.NotHonest.WorstmoveI
                                                                   everhad   ..."
                                                                   "I noticedseveralitemsmissing.A largeantiquemirror,simplestepstool...they damagedthe legsof
           8/15/2018   M M.
                                      $10,000.00      $250.00      a hutchI have...andthe backof my antiquecouchis damaged."
                                                                   "My husbandandI chosethis companybecauseof their insurancecoverage.Inthe end,it wasnot
           4/7/2019    AnnR.                                       helpfulbecausethey didn't actuallycoverthe costof apieceof expensivefurniturethat they
                                                                   damaged."
                                                                   "Thiscompanyisadisaster!Theystole,smashedandmisplacedover$10,000worthof personal
                                                                   items...If youtreasureyour belongings,DONOTHIREFLATRATEl    I cannotstresshowbadthis
           2/12/2018   OliviaS.                                                                                                         - if youaremissingor have
                                                                   expeiriencehasbeenandthere havebeenabsolutelynocommunications
                                      $10,000.00      $800.00      brokenitemsthey'll just ignoreyou.
           8/12/2019   AdamI.                                      "Lies,delaysandpoorcustomer    service..."
           8/5/2017    AverageJ.
                                                                   "Speakerscrammedloosein with endtables,stuff brokenandnosignof the feet for mysofa."
                                                                   "Moverslost/stoleboxes.I got$200for over$1000inlosses.Don'ttrustthis companywith your
           8/20/2018   LisaM.                                      move."
                                      $1,000.00       $200.00
                                                                   "WhileLaurence[Yates]haddiscussedit wasafour or evenfive personjob, consideringthe walk-up,
           2/14/2019   EricS.
                                                                   Flatrateonly sent3mento moveusout."
                                                                   "...they proceededto losenearly$4,000worthof mythings,andthen only offered$800asa
           4/8/2017    ChelseaA.
                                      $4,000.00       $800.00      replacement.Virtuallynothingwasdoneto find the lostboxes...Don'tusethis company."
                                                                   "... mythingswere broken,suchasmy antiquemarbletop dresser.Themarblewascracked2places
           5/16/2018   A. P.                                       andthe woodframecompletelycompromised.My roadbikewasscratched.Mytoasteroven
                                                                   destroyed."
                                                                   "HEADLINE   HEREISTHEY WILLBREAK YOURFURNITURE   ANDTHENNOTPAYTOREPLACE       IT.DONOTUSE
           3/12/2018   MattM.
                                                                   THISMOVER."




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           YELP.COM


           Mike      K.
                                                                          1/21/2019
           New     York,     NY
                                         4 photos
           4¾ 296 frierids

           O      4 reviews
                                  Please           beware              FlatRate              Moving.           This                             will
           S      4 photos
                                                                                                                          company                        destroy
                                  your       high        ticket        items           and     go dark            when        you        file      a claim
                                  appeal.    My               friend       recommended                         FlatRate             Moving             to me as
                                  a reputable                 company.                 She       had     used          them         irl July        2018             and
                                  had       a great           experience.                    I placed          my trust             in FlatRate               arid

                                  Unfortunately,                  my       experience                  was        horrible.


                                  Here       are        the     full     details         (sorry         for the         lerigth).           I am       a real
                                  customer.               I have          never          beeri       compelled                to write          a negative

                                  Yelp review     before                     but        I don't        want        anyone             else      to go
                                  through   this.


                                  I had      a small    1BR                  move.            I paid     an additional                      $300       for        full
                                             "insurance"
                                  value                                    (not        the     regular          per       pound        insurance)
                                  from       FlatRate             to cover              a very         expensive                 credenza      ($4,150)
                                  and       dinirig        table         ($5,100).             When            I bought           the       insurance
                                  from       the rep,             he told         me that             if anything    happened,   they
                                  would         first      attempt           to repair              the items     and then if the repairs
                                  were       not to my                 liking,     they         would          refund         me        the
                                  replacement                   value        minus            a $500           deductible.


                                  The       movers             were        nice        guys          super         courteous                  showed                up
                                  on time,           but       were        clearly           exhausted                and        were        joking   about

                                  being  out all night                     the riight               before.        I let them               know    about
                                  the two high ticket                        items           arid      asked          to please             be extra
                                  careful.          I told        them       they         should         remove              the      credenza                 doors
                                  and       legs        to reduce            the        weight,         but      they        declined              and       told
                                  me they            move            pianos            all the       time       and that             this     was        a piece
                                  of cake.


                                  Given         their         slow       pace,         the      move           took       over       14 hours                to
                                  complete               (not     the      6-8         hours        as estimated).                    The       very         last
                                  item      they         brought           into        my riew          place          was        the       credenza.                Arid
                                  of course,        they               dropped            it in the          stairwell,
                                                                                                                 causing                               a huge
                                  gash       ori the front                corner           (among   other   dings     and nicks).

                                  They       also        damaged                 the      leg  of my dining    table.    I figured,                                      no

                                  big    deal       since          I had         the     insurarice               after      all.


                                  I filed      a claim            and      they         sent        someone               to inspect            the
                                  credenza.              About           a month              later,     I received                 a settlement
                                  check         in the          mail      for     $340         ($840           settlement               less       a $500
                                  deductible).                 The       insurance               cost        me       $300        to begin             with.         So       I

                                  basically             received             a net       of $40          for      $9,000            of damaged
                                  furniture.




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                          I filed       an    appeal         as this        would         come           nowhere             near        the
                          $1,500           repair      estimate          I received               from        the     manufacturer                  of
                          the      credenza.              FlatRate       told       me it was                 under        review.          That
                          was       2 months              ago.     I have         since       emailed               them      7 times           and
                          left     multiple         voice        mails      and        they       have         gone        completely
                          radio         silent.


                          I dont         blame       the      moving         crew          for this           (accidents               happen)
                          but      please         don't     fall   for this        shady          scam           by FlatRate                Movers
                          and       choose          another          moving            company                if you       value        your
                          belongings.



                             All    (160)           Mike's         PhatGs         (4)




              John      J-
                                                                                                          8/23/2019                .    O      Updated     review
              New     York,        NY
              9      0 friends                                       Worst        movers           ever.
                                                                     Do not         hire      these           crimirials.
              O      3 reviews
                                                                     They       will    damage                your      belongings                 and   then   they   will   not
                                                                     retum        phone           calls        or take        responsibility.

                                                                     They       are      liars.




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                                                                   8/1/2019          . Previous         review

                           The       most        unprofessional                    and      irresponsible            movers           I have
                           ever        used.

                           They         came         the      day        before      my move            to pack          us, but they
                           didn't bring nearly           packing    enough                            supplies--even            though

                           they had previously    sent a rep to look at exactly  what
                           needed    to be moved.    The movers   told us not to worry,
                           because              they were going to be the                             same      crew         that     would
                           be there             to move us the next day.
                           Of course,        they sent a di1ferent  crew to move     us the next
                           day,       and they were very surprised      and very angry, to find
                           that      most of our stu17 hadn't   been packed     by their guys the
                           day before.                 This        irresponsible             action      led to our            move        taking
                           hours and                hours         longer      than        it should      have.             I called
                           FlatRate             during the course  of the day and my calls weren't
                           returned.             At one point, one of the crew told me he spoke to
                           their       office        and      they were             sending           more     guys          to help.       No
                           one       ever       showed           up.
                           Our       move           was   only 2 blocks,   but everything    moved   so
                           slowly,        that       by the   time  they got  my  stuff  to my  new  building,
                           it was        after       4pm,    and the building   would    not permit them to
                           move         our      stuff      in.
                                                           They knew about     the time limits well in
                           advance.                 So, my wife and I had to ¶nd    a hotel to sleep in
                           that      night,         and we also had to buy toiletries,    because   we

                           literally          had
                                                nothing  with us. Everything                                  was          in the     moving
                           truck.        Again,   no help from FlatRate.
                           The       next       day,       we      finally  got into our apartment.                            It took the
                           crew        8 hours             just      to get our stuff moved    in--not                         unpacked-

                           just      moved           in.    When           we were           unpacking             our      stuff,    we
                           realized           how    sloppily    and               carelessly          they     had         packed         us.

                            Probably             because      of the               mad rush           they were              in, due       to the

                           irresponsibility                 of the crew              that    was      supposed              to pack        us
                           originally.
                           There         was        serious          damage           to a brand             new     pair      of boots
                           because              of how            they    were       packed.           The    leather           on the
                           boots        was  completely                     rubbed          through       and       off.      Luckily,      we
                           had       purchased     the most                        comprehensive               and         expensive
                           insurance             that       FlatRate          offers,        so in case            of any damages,
                           we would              be reimbursed                     for the     full value          of anything
                           damaged               in the         move.
                           So       I filed     a claim           with     their     claims        department,               and
                           submitted                all the       required          information.              It is now          2 months
                           later,      and       they       are
                                                      refusing  to cover the damage      to the
                           boots         and they aren't retuming    any phone   calls.
                           These         people  are criminals.   They are unprofessional       and
                           irresponsible.       They lie to get your business,     and                                           then
                           you're      truly on your own.
                           DO        NOT HIRE FLATRATE.        I'm so sorry I did.




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           Chantel        F-
                                                                         6/29/2019
           New    York,    NY
                                If I could         give           a zero          star       rating,           I would.              I have          used
           9     31 friends
                                FlatRate           in the           past         with       no      issue.            Perhaps              the       company's
           Q     2 reviews
                                growth           has      outpaced                    its ability          to provide                the      same           level          of
                                actual        moving               service             and       customer                  service...but               there           is
                                no way            I would           use      this          company                again.


                                I paid      a considerable                            amount             for    packing              and        moving
                                services.              The         packing              team         was          almost            4 hours           late        on

                                packing           day.            While          one       of the          actual           packing             guys        was
                                nice      enough                the      packing              was         hasty            and      riot     organized                 in
                                the     way       it would             have            been         had        they         shown            up on time.
                                And       with       only          two      guys           showing              up         (the     original          team

                                ditched),       they were                    here           for almost                6 hours.               They          also        ate
                                some        food without                    asking              first.


                                Orl     moving            day,        the        following               day         the     movers             were         late.
                                 No one           picked          up at the number   for headquarters                                                       and
                                                                       "hold"
                                dispatch           had          me on         for 30 mins  at a time                                                 (I had         to
                                call     back       at least             3 times)               as they           tried       to figure              out     what
                                was       going         on with             the        truck.


                                Given         my       irlitial       experience                   with        this        company,              I am

                                ir1credibly            disappointed                      by the           service            and        customer
                                treatment              this       time.          I'm       pretty         irate       actually             and       would
                                never       use        or recommend                            FlatRate               moving            again.             I would
                                also      strongly              urge        anyone               reading             this     review            to    select           a
                                different          moving              company.                    The         service            was        that     bad.


                                As     I write       this         review,             I am sitting                in my           broiling           NYC
                                apartment               still      waitirig...


                                And       they      just          cancelled              the       move...on                 the      moving               day!

                                 They       didn't         even           call        me     to tell           me.         I only       found         out      after

                                calling       again!


                                Never         use       this       company.                     Save           your        money           and        time.            Use
                                OM Moving.


                                Then        the      truck          and      movers                finally        show            up and...            the        driver
                                hits     a car       that         was       parked              and       took         011the           front        bumper.
                                 That       really        just        happened.




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           Nahal      N.
                                                                                         6/18/2019
           New     York,     NY
                                                     Have        worked          with       this      company              2 times          now       and      while      their
           ¾     7 friends
                                                     moving          services           are        solid       their     business             practices          are      less
           O     31 reviews
                                                     so.


                                                     While       they         moved        everything    on time and packaged                                        stuff

                                                     quickly,        they       did     break    my kitchen    island during one                                     of my
                                                     moves           from      NY to LA,              to which           their      claims         department

                                                     continuously               ignored             my     emails         and       never         reimbursed              me.


                                                     Further           their     sales        team         claims         to have           a discount           they
                                                     honor       for     repeat         customers,                 DUt this        is a lie.        I worked           with
                                                     Adam         Robb         and      he was             very        slow      to communicate                   with        and
                                                     was       not     able     to secure             a reasonable                  price         compared             to my
                                                     previous           moves.           I had        to follow          Up multiple              times       to get         a
                                                     response            from         him     which           ultimately           yielded         a thoughtless
                                                     and       disappointing                outcome.


                                                     Overall           I would         go with          this company       for their                      flexibility        but
                                                     for   none        of their         moral         / ethical practices.     They                         tend to
                                                     mistreat          their     customers                 arid     there        is a lot of variance                   in the

                                                     quality         of employees                  you      come         across.




                             Rosalee          S-
                    . .b                                                                                        11/16/2018
                   -                            NY
                       s     Manhattan,
                              is   41 friends
                                                                         The      people            I dealt       w other         were   extremely               courteous             and
                                                                         pleasant           but the           actual       move       was a mess.                They            packed      my
                              O    1 review
                                                                         stu17 as well               but they           never      needed           a truck      as I was       moving
                                                                         to a building               opposite            my old one. They broke                          the glass   of
                                                                         several   photos.                 Ruined         a screen  that I bought                        in Mexico.           It
                                                                         was      one       of a kind             and    very      special         to me.        I wound            up with        2
                                                                         phones          that     were missing their                        cradles.        They        also       cracked
                                                                         the screen             of my apple desktop                          computer

                                                                             They           left boxes  behind  and                         had    to come           back        to retrieve
                                                                         them.   There               was       no walk           through          after    the   move            and   they
                                                                         expected         an extremely                     large     tip.     Lots        of small       decorative
                                                                         items        were left behind                   and       I had      no way of proving                     they
                                                                         were         missing.           Very      disappointed               and heartbroken                      about      my
                                                                         losses!




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                             Alex     W·
                                                                                                                5/21/2019
                             Brooklyn,      NY
                                                                       flatrate        movers             flatrate         losers!!           are      the     worst!!!!don't                   do it!!
                              4     0 friends
                                                                       the     rude       crew        who         took        my antique     chandeliers                              whilst        we
                              O     3 reviews
                                                                       were       moving             and        placed         them   in storage     kept                        no record               of
                                                                       them       . when             we     went         to collect           them           they had lost over
                                                                       $34.000!              of chandeliers                   and      refused              to reimburse   us the                         full
                                                                       amount!  despite      a phone   call from them to to say they were
                                                                                      right'
                                                                       going to "do           they  have   not!!
                                                                       do not use   them for storage.        its a shame the new move
                                                                       crew       we      had        were         lowley         and      professional                   movers               but   the
                                                                       management                     stinks!!

                                                                       only work with them       if you                           can         afford         to have            your          stu17 'fall
                                                                       of the back of a truck'll


           Sahana       S.
                                                                                      10/3/2019
           Manhattan,        New York,      NY
                                                 This     was        a terrible          experience.                   They        were          late       to start           and
           ¾    0 friends
                                                 took     2 hours            longer       than         expected.                 But      that       wasn't            the
           O    3 reviews
                                                 worst       part.They     lost a computer                                screen,             4 plants,                and
                                                 cracked         our marble    table. The                            person            that      set     up the              move
                                                 for     us refused            to respond                 to our         multiple          emails             and        calls
                                                 after     the      move.         The        amount             they       reimbursed                   us for          all these
                                                 issues       did      not even              cover         1/4 of the             cost.        Not      worth            the
                                                 headache             and        we     will      never          Use      them         again.           The        worst.




           J D-
                                                                                       12/3/2019
           Chicago,     IL
                                                  I was      very      happy           with        Flat     Rate         until      we        opened            up our
                0 friends
                                                 furniture          from       a San           Francisco               to Boston               move.           Several
            O   4 reviews
                                                 broken          items.        At first         I was           not too   angry because                                I was

                                                 going       to fle        a claim             and    see         if they can help me.                             I
                                                 submitted             the     pictures,             proof        of purchase                    and        described
                                                 what       happened.                 They         acknowledged                        my email               and        said
                                                 that      they      would        get        back         to me          in 14-21             buiz      days.           Here         we
                                                 are      in December                 and         crickets.            We moved                  in the         first        week
                                                 of Oct       this     year...I          emailed            3 times            over        the       last      week            , no
                                                 response.             I have         left      3 voicemails                  for the          claims

                                                 department,                 crickets.            Clearly         this     company                   is having               issues
                                                 and      you       should        consider                the     risk     with      working                with        them         vs
                                                 other       movers.             Happy            to update              my      review     if someone
                                                 responds             back        to me.           I was         waiting          patiently             for     2 months                  ,
                                                 but      now       I am      being          ignored            and       felt the         rleed         to share              this
                                                 experierice              with     other          people           looking          for cross                 country
                                                 movers.




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                         '
                                Veronica      L·
                                New York,     NY
                                                                    QQQ                                          4/5/2019

                                                                       It's sad        that         I have          to leave           a 2 star          review           because             the
                                f i 146 frierids
                                                                    g      ys that            actually           did the           move          were         great       as was          the
                                O     90 reviews

                                G     31 photos
                                                                    sa         s              on       a         WM                me.        I can      sing praises   about the
                                                                    move             team          from        NYC.Then                      Miami       team was very late,
                                                                    didn't           call,        but
                                                                                                all my stut
                                                                                                          hey,      I got                                  My complaint    is with
                                                                    the       claims              departmerit.
                                                                                               My dress     came   broken     and I filed                                                                  a
                                                                    claim    and I have yet to see it be filled.  They stated     the
                                                                    amount     they would  be paying   me (full replacement        of the
                                                                    dresser!    I was so happy   & happy    with them)    with the

                                                                    accompanying                           letter       and        I still     haven't         received             anything.

                                                                    My stuff was                        delivered       on February    1st I filed March                                        4th        as
                                                                       I was         out      of town            for almost  all of February,     it is now                                    April
                                                                    5th       and          I continue             to keep getting   the run                            around            as to
                                                                    where             my check                 is. I hate to be   a niuserice                               but     I follow        up
                                                                    weekly             and nothing.                     The        exact         response              is 'We           haven't
                                                                                                                                                                                                    yet."
                                                                    received                 checks            from      the     accounting                   department                 as of
                                                                       How         is it possible                that        a check   hasn't                 been          received           in over
                                                                    a mor1th.                From          a moving                standpoint             they        are great            and        if
                                                                    you        don't          receive            anything            broken            great,         but    if you       do,       be
                                                                    prepared                  to wait.           It's sad          that       I have      to have         my clothes
                                                                    either           in boxes              or on piles               on the          floor.     As     other reviews
                                                                    have           stated              if I don't       hear       from         them        within          the    next       week,             I
                                                                    will      file     a complaint                  with       the        BBB.




           Victir       J'
                                                                                            1/18/2019               .   O      Up-dated              review
           Oceanside,            NY
           9        0 friends                      i moved         from          long island to Florida,we                                     realize        that      we
                                                   where                           a box and the dir1ning                                    table      drawers             was
            O       1 review                                  missing
                                                   brokeri,we             contacted                    claim        department                  winch         they      offer
                                                   $300.00          to repaired                   the      table        and        missirig           box.      I'm     currently
                                                   calling       and       emailing                the     claim         department                   due       to the
                                                   amourit         that       they         serld          me     cant        repaired             the     table        or buy
                                                   what      im missirig
                                                     no arlswer,they                       will     not call            me    back           or replied           to my
                                                   email.


                                                   stay     away          from        this        company.the                   worst.

                                                                                           9/27/2018                . Previous                review

                                                   To start      the       delivery               staff     on      pick       up and            dropped              was         good
                                                   the    down         size        is that          the     table        draws            was        broken           ,missing            a
                                                   box    called          twice        no one              called        back          the      claim         department
                                                   sent     me     an email                 stating  that they will settle with                                      me      for
                                                   $300      I can't        even            fixed the draw    with that amount                                        and         for
                                                   me to forget               about           the        missing             box     with        all my belongings.i
                                                   resend        the      email            back          as of today               no answer

                                                   Stay     away          from        this        comparly


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           Michel         B·
                                                                                            2/26/2019
           Midlottlian,         VA
           i     0 friends
                                                       Not     a fan.       We hired                Flatrate          for     a move        from         NYC to
                                                      Montreal,             arid     half      of our           fumiture          arrived         with      only      3 legs.
            O    6 reviews
                                                      This      was      after        being          told       our     items      would          arrive       in "about         2
                                                      weeks"...which                   actually             took       about       twice      that        long!       The
                                                      movers          we      interacted                 with      themselves               were         not    bad      but
                                                      overall        if the        goal     is to move                 your      things      without            breaking
                                                      them,         I suggest             finding           someone              else!




           Cindy       C.
                                                                                            9/27/2017
           New      York,      NY
                                                             11 photos
           ¾     71 frierids

           O     34 reviews
                                                      *STAY         AWAY            IF YOU               HAVE         EXPENSIVE                   FURNITURE
                                                             arco                   was                          scratched-              I only     saw        how
                                                      My                lamp                   deadly                                                                    they
                                                      put    it in the        truck        when            they       arrived       at the        destination:              No
                                                      protection            on     lamp            and      was       hittirig     my     600$       tall      mirror.


                                                      All    my     white        glossy            furnitures            are     cracked          and       scratched.

                                                      They        even       dropped                my T table              in front       of my         eyes.


                                                      Movers          almost          threaten              me to tip them                  100$         each.        Its 300$
                                                      all together            and         I was          forced        4times.


                                                      My     Waterford              gablet           are     broken


                                                                                               "             away"
                                                      I cant      say       enough                 stay


                   AII (160)    Cindy's Photos (11)                                                                                                      Searchphotos...




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           LAIRfAriiF


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           Dana        P.
                                                                                  7/26/2019
           Manhattan,         NY
                                             If I could          give     this        company                 negative         stars,        I would.             I used
           9    8 friends
                                             them        for a move               from          Manhattan                to the Atlanta                 area      August
            O   2D reviews
                                             2018.        They         STOLE              expensive                 sunglasses              and      other             items,
                                             broke        the     legs         clean       off     my         bookcase,            and      damaged                    my
                                             piano         TV,     and         many         pieces             of fumiture.           They          chipped              my
                                             antique           jewelry          box,       a family               heirloom.        Alter         I specifically
                                             asked        them          to pack           it carefully       I found                it with       no wrapping
                                             in a box           jammed            with       other     stu17. They                 also       were         NOT
                                             PREPARED                    for    the       move.              My     brother        had      to help         move              the
                                             piano         bc the         guys         couldri't             do     it- and       I have       it on       video.
                                             Over        $3,000          in damages                     and      FlatRate    only             paid        me       $650.
                                             Not     enough             to cover            2 pairs            of sunglasses-                 not       to mentiori
                                             the     piano        and      everything                   else.       Oh      or the        cost      of labor             that
                                             WE      had        to do their            job.        Unconscionable.




           Emmaline           K·
                                                                                  8/28/2019
           Brooklyn,        Brooklyn,   NY
                                             I had       a horrible            experience                    with     Flatrate.       My         sales          rep,
           ¾    D friends
                                             David        Lloyd         is completely                    unresponsive                 and        they      won't             give
           O    1 review
                                             me any            irlformation.             They           opened           a new        storage             unit         for

                                             me,     wheri         I asked            them    to         move          my     items        into      my     existing
                                             unit.    I did      not     find     out          until     months           later     and       they        charged
                                             me for both               units.         Now         I can't         even      get    ahold          of the         salse
                                             rep.    I went         to the        urlit        myself           to consolidate              the      items             and
                                             close       the     other         unit.       I do         not       recommend              them           (this     is my
                                             most        recent         frustration               they         also      damaged            a lot of my
                                             furniture          during          the     move).




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           Melissa     H.
                                                                       7/17/2019
           Brooklyn,       NY
                                Disaster.
           9   0 friends
                                1. Showed                up     an hour              late;      no dollies;             two          men     short;            didn't
           O   7 reviews
                                pack      the      kitchen             which          was       included              in the         estimate              (we
                                did).
                                2. Didn't          finish       job      before             they could               stop using     service
                                elevator           at 5 so company                           scheduled                another   truck/crew                        to
                                come        the     following              day;         but when               they         didn't     arrive            I called
                                the     dispatcher               who       replied,"We                   are        supposed               to send             you      a
                                           today?"
                                truck
                                3. Truck      ¶nally arrived                          but  they forgot two boxes                                  worth          of
                                stu1T      so we just rented                          a car and did it ourselves                                  as     they
                                could       not     schedule               a truck.
                                3. Showed                       at the                         address               - Cliriton         Street           instead
                                                         up                    wrong
                                of Clinton           Avenue.
                                4. Worked               until     1 AM              despite           being         tired      hot     and        hungry.

                                They       were      very         valiant             and      experiericed.
                                5. Lots         of damage                 to personal                  items         as well          as     origin        and

                                destinatiori,             but     I don't            fault     the      movers     as I feel they                         were
                                expected            to do way                  too     much           - the original   estimate                          was

                                way      off.
                                6. Customer                   service          was          totally      patronizing;                 lots     of
                                platitudes              and      apologizes                  but      no return              phone         calls        despite

                                my      calling         numerous                times.


                                Despite           the     delightful                estimator            who         convinced               me        to go
                                with     Flatrate               I am      EXTREMELY                          disappointed                  with        their
                                services            in particular                   customer             service             who      failed        to ever
                                follow       up.        I have         filed        a claim           with    American                Express        asking
                                for     money           back       and         a complaint                   with     the      Better         Business
                                Bureau.


                                Think       twice         before          using         them.




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           Lee    O.
                                                                       8/25/2018
           New    York,      NY
                 0 friends        G      1 photo

           O     23 reviews
                                  If 1 could          give     zero,        I would.           They        ARE       scumbags                  and
                 2 photos
                                  cheats.          Jose,       the     foreman          of my move                     was      nasty,
                                  demanding                and,       in the        end dernanded                    a 15%            tip.     Boxes
                                  were   piled          to the        ceiling          and,        I spent        $1,000          to get        people          to

                                  help       rne    get      them         down.            They     even         piled     4 boxes             in front         of
                                  the       bathroom           door.        They           should        pay      me      for    pain         and
                                  su1Tering!!          They          also       cheated             me     out    of a promised
                                  discount.


                                  Broken           fumiture,           stolen         or lost        designer            clothing;            A full
                                  length       mirror         and      bookcase                were        taken.


                                  I subrnitted             a claim          for     $3,000          with       receipts         and          photos        in
                                  the       beginning          of July,           2018.           It is almost           September.                 They
                                  say       I'll get $312            ( !!!!!)      but      I have       yet     to see         it.


                                  The       salesperson,               Adam              Robb,        lives      in a fantasy                world     if he
                                  tilinks      this     is an honest                 and       good        company.




                                                                                  . .sdi




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           Alice       S·
                                                                                       5/28/2019
           Manhattan,          NY
                                                     Do not       use       this   company!               Although            it's been        more           than      10
                   D friends
                                                     years       I often       think        about         how    awful        they     were.          First     of all,
           O       10 reviews
                                                     their    guys      stole        our     bikes,       a box        of valuables,             a family
                                                     heirloom          and      more.         We called             to complain           arid     the

                                                     company           blew        us off. Also            things       came         broken           and
                                                     although          we     paid      insurarice,             what     they        broke       they         said     it
                                                     wasn't      covered.            It's    been       a long         time      but we       still     miss         the
                                                     items      that    were         stolen        from      Us,.




                               Justin    O·
                                                                                                          5/17/2018
                        . ·    New York,        NY
                                                                       Really        terrible       experience            with    them.        They           lost    4 of my
                               is   0 friends
                                                                       lamps         in the        move      (no explanation).
                                                                                                                   They                                     also      didn't pack
                               O    4 reviews
                                                                       half    of my closet (maybe    they gave up midway     through?)
                                                                       and     parts of my side tables.   So I've had to buy new lamps
                                                                       and     do part of my move myself.     For the price they charge,
                                                                       this    service          is terrible.


                                                                       Despite         the      lost   lamps-          not getting           much       of a resporise         from
                                                                       the company.




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           Emily      I'
                                                                      7/25/2019
           Burbank,        CA
                                I hate          to write        a negative                review,                but     I feel        like     it's the
           ¾   0 friends
                                responsible                thing      to do         so that                other         people           dori't         suffer        the
           O   2 reviews
                                same        fates        that      we     did.          We have                  used          FlatRate              in the       past
                                for     local      moves           within         NYC             and        had         a great              experience.                  So
                                when        it came           time       to move                 from        NYC to California,                             we
                                hired       them.          Our      sales         rep,        Matt,          was         amazing,                 but
                                everyone             else        we've        worked                with          has        been        less        than
                                satisfactory.              Unfortunately,                     when               the     day       of our           move

                                arrived,          6 months              after       we'd          booked                 it, FLATRATE                   DID
                                NOT SHOW                     UP.     That's                         on the                        of our                   life-
                                                                                        right,                          day                        huge,
                                changing,               cross-country                    move,             they         just      didn't        show.            And        no
                                one       called        me       or anything.                 When                I finally         called           and      got
                                through           to them,           they         were         very          casual             about          it and         offered
                                to do       our     move           a few          days        later.         We explained                         that      we'd
                                sold      our      apartment,                and         it became                 someone                    else's        property
                                in two          days.      We could                not      wait           that        long.      They          agreed            to do
                                the      move        the      following            day,          but        only         sent       3 people               to do
                                what       was       supposed                to be done                     by a m               ch      larger         team           I
                                think.      Those           packers             just      threw             things            in boxes--               there        were
                                glass       items      completely                   unwrapped,                         just      tossed             into    boxes
                                of office          supplies   and                 kids      toys.           Kitchen              stu17 thrown                 irl with

                                clothing           pillows          and       cashmere                     sweaters                tossed            in with
                                open             owrapped               shampoo                  bottles               and      other          liquids.
                                Needless             to say,         when          we         unpacked                   3 weeks                later       in
                                California              it was       a disaster.                 Also,            they         mismariaged                    our
                                storage           items,         completely                 forgot           to pick            them           up       and       now
                                the      storage           company                is charging                    us because                   the       items
                                weren't           picked         Up on time.


                                And       through           all of this,           customer                      service          has         never         reached
                                out      to me       to explain               apologize,                    or help             in any         way.         I wrote
                                and       called        and      bugged             them            until         they         finally        responded
                                but      that     was       only      after        the      first          mishap,              when          the       movers
                                didn't      show.          I haven't              been        able          to get            in touch            with      them            to
                                resolve           the    terrible       packing                  job       and         other          complaints.
                                They're           ignoring           me.


                                I could          go on        and     ori,        but     the       bottom               line      is this:           things

                                happeri,           movers            don't        show                 p    clothes             get      ruined,            packing
                                jobs      can      be done            badly,            someone                    has         an off day.               Fine.      AII
                                of it, I get         it. I'm       human            and          very        tolerant.                We have
                                insurance.               It's just       stuff.         What           is inexcusable                         is that
                                customer             service          has         been           dodging                my calls,              ignoring             my
                                emails,           refusing          to take            any responsibility.     So                              long        way       of

                                saying,           for that         reason,             DON'T    use FlatRate.
                                                                                                           glove"
                                P.S. this          was       supposed                  to be the "white                                           service            full
                                pack       and       unpack.            And....           it did           not     go well.




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           K L-
                                                                      12/10/2018
           Manhattan,      NY
                                Our      family         had       Flatrate          to move            within      the      same        borough            in
           9   0 friends
                                July     2018.          To be            safe,      we     purchased              the      most
           O   2 reviews
                                comprehensive                       coverage             for damage               with      Flatrate.         Flatrate
                                damaged             a piano.                They        tried     to keep          sendirig        what      seems
                                to be a one               size      fits     all fumiture              repair company                to our
                                place      to repair.               I researched                 the    company    and              found       out
                                that     the     company                 appears           not    specialized               in piano        repair.            I
                                asked          Flatrate          to research               more         and      found        a qualified
                                repair         company              that      does        piano        repair.          However           Flatrate
                                keeps          trying      to send            the       same       company               (like    a robo      call)       to
                                come       perform               repair       which         I refused.


                                As     of now,          Flatrate            has     not     provided             a qualified        solution          as
                                of today.           The       piano           remains            damaged.


                                I recommerid                  not     using         Flatrate           if there         is any    expensive
                                items      to move               as Flatrate              appears          to be         using     a one-size
                                fits   all repair          shop            regardless            of the         items      damaged.


                                Right      now,         I am        planning             to look        for other         options        to get       a
                                fair    treatrnent            from          Flatrate.




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           Christy     S·
                                                                           1/2/2018
           Burbank,    CA
                                This       is for       a cross-couritry                          move,            east        coast          to west            coast.
           9    11 friends
                                I've     heard          good          things            about           them         for       moving             within         the
            O   92 reviews
                                city,     but      I wouldn't               recommend                      them            for      cross-country.


                                I used           Flat     Rate         a while              ago         and        I'm     still     shocked                at how
                                terrible          it was.           I've     moved             a handful                  of other            times           and      I've
                                never          had       arl experience                        as terrible                as       FlatRate.             Not         even
                                close.         It wasn't             a regular,                hey       this       mover            damaged                  some            of

                                my      stuff,        type         of awful             it was  exceptionally     awful  from                                         the

                                day      the      movers              arrived            to months     after it was delivered.


                                                        Rate"
                                The       "Flat                      was          not       a flat       rate.They                   tried      to charge                   me
                                $350        extra         when             they        showed              up and              threatened                   not to go
                                through            with       the      move,             knowing                I had          to be out             of the
                                apartment                by 5. I had                  to call        the        person              I originally
                                coordinated                   the     move             with       arid        he had               to tell     the       movers
                                there       was         a mistake.                    The      movers               also         made          it clear          up front
                                that     the      tip     for each               of them             wasn't              actually            optional            ($100
                                each).


                                From          start      to finish           the        movers             were            unprofessional.                          I tried

                                listing everything                         but        if you      want          highlights,                just       message
                                me. It's so many                           insane           things         that          it would            be a bajillion
                                page        essay            to write            them          here.          so         much         of my          stuff       was
                                damaged                 when          it was           packed,             or packed                   in a way               that     it
                                was        100%           going            to be damaged                         irl transit.           The          shoved
                                outdoor            metal           patio         chairs           irl my        mirror             crates         with        my      fine
                                art.    for      instarice.            That           was         the     level          of care           across             the
                                board.


                                The       customer                 service             person            I spoke               to via        phone            & email
                                was        not     only            nhelpf             I, but       condescending                           and        adversarial
                                from       the       start.         I have            someone                 close         to me            who        has      worked
                                irl the        moving              industry            for 30+            years            (in claims)               and        they
                                were        appalled            by the communications                                            I forwarded                  to them.             I
                                paid       for the           most  amount  of insurance                                          possible,              but

                                ultimately              it didn't           matter.


                                Fortunately                  for     us it was              a corporate                    move          for      a tech

                                comparly,               so the         company                    put      a blanket                 ban       on       using         Flat
                                Rate       for     all of their              relocations                   from          that        point        on.       We
                                weren't           the     first      that         had       shared              a terrible             Flat       Rate
                                experience                with        the        company                 but we             were        the         last.




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           Maddie     F.
                                                                          6/1/2019
           Andover,    NJ
                               This       company               is HORRIBLE!                             UNPROFESSIONAL,                                       they
           5   0 friends
                               hire      DISREPUTABLE                                 people!
           O   2 reviews
                                Please          if you        value             your        belongings                  such          as your            children's

                               baby        books,pictures,christening                                          clothes           baby            pictures,
                               wedding            dress            generations                     of belongings                      you        have          saved
                               to pass           on to your                children               arid     grandchildren                         DO NOTI                  use
                                FlatRatel

                               My      daughter               just        had         a new         baby         and          asked          for       her

                               christening               clothes             that        she        was         baptized              in I had            to tell         her
                                I don't        have       it any           longer            because              along           with           my     other
                               precious            belongings                    were          lost,      stolen             ,sitting        in a storage
                               Unit,god           knows              where.             Originally              I put        in a claim                for     missing
                               or stolen           items           such          as         12 unopened                     boxes           of Topps
                               baseball           cards            my son's   PlayStation                                and         a box            of games             for
                                PlayStation.              He        has cerebral    palsy                              and      could            not wait            to to
                               have        his games                  back.            I had        a big        dining          room            that        was
                               stored          in the         basement                   of the          building             I moved              out        of ( a

                               very       expensive                  dining            room)
                               The       day      of the           move           myself            as well            as      my       husband                went
                               down        to the         basement                     to check                how      the       movers               were          doing
                               with      the dinirig  room we saw them   wrapping                                                            the       table         when
                               the      same   foremari   showed up at our current                                                           home             he was

                               mean,           nasty       and            did     not       want         to be working                      at all! Wher
                               the      last     of our        things             were           move           into     to house                 there        was        no

                               dirling         table!      He said                it did         not fit through                     the     door         of the
                               basement                 and        left     it there!!!             Like         a bag          of garbage,                    they
                               moved            the     bullet            and         the    chairs,            but     left     a 6 foot              table
                               behindl!           Without             even             telling       us.        I called          my        previous
                               laridlord          and         he      said        the       table        is not         there.          So where                is my
                               table       FlatRate?                 This        same             person          was           so careless                   with        my
                               sectional           couch              he slammed                       it on      the        floor         repeatedly                he
                               bent       the     frame            and          broke         the        motor          right        in front           of us.        That

                               day       was      a riightmare!!                       My        husband               found          one         of the
                               movers            in my         bathroom                     looking            through           our        medicine
                               cabinet            there        was          absolutely                   nothing             for them              to Unpack               in
                               the      bathroom.               The         box          spririg         for     our       bed        did        not     fit up the
                               stairs      since         there            was          a over          hang,           he told             the     other        mover
                               to move            it to the           back            room          on the         first       floor,        I insisted              he
                               find      a solution,               he went               to he truck                  in a huff            and         brought
                               back        a saw         to cut            the        box     spring            iri half.


                               We paid            FlatRate                 almost            $10         000.00            in storage                  fees     and        $
                               5,000.00            in moving                    fees!!        We NEVER                       haggled               about           the
                               price.




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            I called          Taneil            in claims               department                      and     was         told       to put           it in

            writirig,         I did        that        as well             as call           our        representative                       Larry
            Petrakakos                   he       acted           truly          baffled,          said       he     has         riever         heard
            of anything                  like     this         happening!                    I guess           he has             never           read
            the      reviews              on Yelp.              We sent                  him       a text       asking             for the
            itemized              inventory                list    he texted                   back        saying           yes        he would,
            rIeedless               to say            I never           received                it from        the       Daffled
            representative.I                          filled      out       all of the             paperwork.                    I received                a
            letter       stating           they          were           paying            me       $500.00              !!!!!     We wrote                 to
            the      appeals              department,                      that        was         a waste            of time.


            I called          Larry          repeatedly                    arid        he told           me       not      to call           anyorie
            that       he would                 get      to the           bottom             of this,         he basically
            appointed                himself              our      liaison.              called         Tamara             at the            storage

            facility         she         never          retumed                  my      calls.         I called         Rosa            in the
            claims           department                    and          begged               everyone               I could            to please
            find       my belongings,                          only        to be igriored.                     Rosa          said            we       sent
            you        a check             for     $500.00,                 so in other                  words          basically              your
            screwed.                I told        her      yes          I did       cash          the      check         because                  I
            rIeeded           to put             a down             payment                  on       a small           kitchen            table,         we
            had        nothing             to eat          0170f.


            I know           this        review           is long,               but     please            bear       with         me.        When
            you        are     married                for 40 years                     you      accumulate                      things.           I did
            riot     notice          my         children's                pictures,             christening                 clothes               are

            missirig             until     you          look       for them.                 My       heart         is so broken.
            Never            in a million                years            will     I be able               to a1ford            a new             dining
            room         or a couch                    and        never            ever        will      I be able              to pass            down
            to my         grandchildren                        things             that       belonged               to there              mother             or
            show         them            their        mothers               kindergarten                      work.        As time
            passed            we would                   think          of something                     we       had       or needed                   only
            to find          we     don't         have            it any           longer=so               much         of our          things            are
            missirig.             This   company                        will      go      deaf,         dumb          and         blirid       if you
            have        any         issues  with                  them.            Please             do      not     use        them.
            FlatRate              if you          have            any      kind          of decency                 in you            find     my
            belongings!!!!                       We put our trust                            and        money           in you           to move
              s, put         our         belongings                   on storage                   and        have         them          come           out
            of storage.                You        hide          Dehind             your         .65c        per      pound             law        but
            can        you       honestly   put your head on your pillow                                                         at night

            knowing              that people    get nurt by your neglect.                                                       The        issue
            with my            dining            table         was          swept            Under          the      rug.        I cherished
            that       dinirig         room.            I can't           take         out     my       children's               baby
            pictures             and       baby           books             and        reminisce               with        them            and        my
            grandchildren.                       Shame              on youl


            Madaline                Fati




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           Kristina          S.
                                                                                                  7/8/2017
           Santa      Monica,      CA
           4    0 friends                                  g        11 photos

           O    1 review
                                                           Worst        experience                 everl        Would              NOT recommend                             this
           S    11 photos
                                                           company            for      a long            distance            move!!


                                                           I just     moved          from          Santa             Monica             to Manhattan.                   I had        about
                                                           8 large       pieces            that     were             supposed                to be wrapped                     and
                                                                                                                                                                                           55'
                                                           moved.         Of those                half     were         damaged                   including             my     nice
                                                           flat     screen       tv went            missing.                No body               has         reached         out     to

                                                           me,       retumed           my     calls           and      when              I call     I continue           to get            the
                                                           run      around.          Such          a disappoiritirig                      experience                  as if moving
                                                           isn't     stressful         enough.                It's    been          a week              now      and     still       no one
                                                           has       made        any       effort        to resolve                this.      DON'T             USE       FLATRATE
                                                           FOR AN LA TO                      NY          MOVE!!!




                   AII (160)      Kristina's Photos (11)                                                                                                          Searchphotos...




           Emille       P.
                                                                                                   10/25/201                8 .    O        Updated             review
           Miami      Beach,       FL
           ; ; 0 friends                                   DO NOT              DO BUSINESS                            WITH           THEM.              Their         movers
                                                           damaged              my      house             and        my goods,                 did        not    unpack             as per
            O   3 reviews
                                                           contract           and threatened                         me to close                  the     contract.            When          I
                                                           reached            out    to the          office          after        the      movers              were      gone         to get
                                                           reimbursed                for the         unpacking                    that      had         not     been     done          they
                                                           agreed         to reimburse                    me         but     never          did.
                                                           This       company              is unprofessional                            and       their        movers          are
                                                           thieves.

                                                                                                  8/7/2018                 . Previous             review

                                                           Stay       away          from     this         company                 who         not       only     doesn't            take
                                                           good        care      of your            goods            but     on top of that tries to rip you off
                                                           with      fluctuating             rates.           Not      good     service.  Not honest.   Worst
                                                           move         I ever       had          (and        I had         quite         a few...)




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           M M·
                                                                         8/15/2018
           Manh#1an,       NY
                                I booked             them         through             utilizing         reviews               that        were           favorable.
           ¾   D friends
                                 I had         many         conversations                      with      them           as I was             concerned
           O   5 reviews
                                with     the     scamming                   that         can     sometimes                    happen               with          movers
                                and      I have         aritiques.               The       team        showed                 up on time                   and         the
                                foreman               Gregory,             immediately                  said         he needed                    to take
                                inventory.             After         going     through                 everything                    he     said          I had         way
                                more       stuff       and          he had         to call           dispatch            to inform                them.                He
                                came       back            into     the      apartment                and         said        they        were            going            to
                                change           more,            or we          could         make          a separate                   arrangement                           of

                                paying          him        $250          cash.        I believed               him       arid        agreed               to j       st

                                pay      the     cash.            What       else         was        I going          to do.          AII through                      the
                                move       the        team          would          disappear                for      15 minutes                    and          come
                                back   smelling    like marijuana.      I asked  if someone     was with

                                my  things    on the   street  as  I live  in NYC   and  he   shared  he
                                had 4 guys with him and one always              stayed    with the truck.
                                Soon       after,          all 4 guys             were          in my          apartment                  arid       I asked
                                again          who         is with         the     truck?            They         said      they          locked            it. Well
                                as you          read        this,     you         will     see       that      wasn't           the       case.             When

                                they      had        finally        removed                everything                from        my        apartment,                      I
                                walked          outside             with     them            to get         in a car          and         go to my                   new
                                location         7 blocks                away.

                                Many       of my            items,          including             larger          ones,         were             still     on the
                                street         and     as I looked                 at the         truck,          I thought                No way                is that

                                going      to ft        inside.            I asked             questioris               and      was         informed,                     It's
                                fine     It's fine.
                                The      team         informed               me they             would            take        a 30 minute                       break
                                and      meet         me        at the       new          location.            The        team            didn't          show            for
                                hours.         When        they            finally  got there,                    the     new         location                  had        to
                                extend          the     elevator              Usage    because                     they         were         so late.                  They
                                also     had         2 trucks.             They           had        rented          another              truck.           They
                                shared          it was          to jump            start       the     first      one.          Who          rents              an
                                entire         Uhaul        to jump              start       a battery.              Very        doubtful.
                                Part     of my          move          included               them        removing                the        items           for the
                                wardrobe              and         puttirig         them         in the         closet.           I had            5 wardrobes
                                and   they           put       it all on         my       antique           couch           instead.                That's             a lot
                                of clothes            for      me to sort.                A1ter       they        were          done,            very           very
                                late,     I paid        them         the         extra       money,             (in cash,             he said               I
                                couldn't         put        it on the            contract            or my         credit        card)             noted             the
                                broken          piece          of fumiture                 on the           contract            and        they           le11.        The
                                next     day         as I unboxed                   and        sorted,            I notice           several               items
                                missing.           A large           antique              mirror,       simple            step        stool              (container

                                store)         and      I am        sure         there         are     others           but      I have            yet      to
                                discover             what         they      are       yet.




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           I called        straight           away        and      was          assured            I would            receive              a
           call    back       within          24    hours.        They          said      the      truck         was         in the

           shop       and      they       didn't         have      it onsite           to look           in.    I did        not       get      a
           call    back.       I did finally              speak          with     them           the     following               day         and
           Brian      in complaints                     although           very        empathetic,                    shared              the
           items      were         gone           and     he was           going          to send          me a claims
           form.      When            I asked           what      this      process              looked           like,      he said
           he didn't         really          know        arid     that     I would             have        to ask           the
           claims        department.                    Brian     said      he would               credit          my card                the
           $250       I paid        in cash,            although           I haven't             seen          that        yet     but
           appreciated                that     he did something.                          I will       update              the     review
           as I see         what         happens.
           Well     I ¶lled        out       the    claims         form         and       do     not yet          krIow            what
           the     company             will       do.    I paid      extra         irisurance              because                 of my
           antiques          and       it should             be covered                for     $10,000.
           I never,         ever      right        bad       reviews,           only      good           or great            ones.
            This      was      just       unacceptable                   and       I do not            want        anyone                 to go
           through          what         I did.     Just        horrible          horrible             move        process.                And
           I only moved      7 blocks    up the street.    UGHI   Stay tuned.    I
           also had damages         to my furniture.     Aspindle     broke off a
           piece  of furniture.     They   damaged      the legs of a hutch    I have
           and      now      they        are       moving         all over          the        place       and         the         back         of

           my      antique         couch           is damaged.




           Ann      R.
                                                                                                               4/7/2019
           Manhattan,          New York,                NY
                                                                    My      husband                and         I chose             this        company          because          of their
           9 - 0 friends
                                                                    insurance                coverage.                     In the         end,       it was     not    helpful         because
           Q      1 review
                                                                    they         didn't        actually           cover            the     cost        of a piece       of expensive
                                                                    furniture             that     they         damaged.                       Save      your    money           and     find    a
                                                                    more          reliable             service.             I've     used            better     ones    on   craigslist.




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           Olivia    S.
                                                                     2/12/2018
           Manhattan,        NY
                                  If I could        give      less      I would.         This     company         is a disaster!
           ¾    25 friends

           O    18 reviews
                                  They      stole,       smashed            and     misplaced             over    $10,000          worth         of
                                  personal           items,      and      alter     6 mor1ths            of trying to get this
                                  covered         by their insurance    which                          we purchased,     they
                                  agreed        to $800    for damages!
                                  It's entirely        outrageo             s!


                                  If you      treasure          your      belongings              DO NOT HIRE               FLATRATE!


                                  In addition          to this       they charged                more      than    $1000

                                  fraudulently             to the      card on file             with    NO AUTHORIZATION.


                                  The      customer           service          in non-existing             entirely!


                                  I can     not      stress      how       bad     this     experience            has   been       arid
                                  there      have      been                        no communication                        - if you        are
                                                                  absolutely
                                  missing         or have        broken      items   they'll just ignore                    you.


                                  SAVE        YOURSELF                  THE        AGONY           AND      STEER        CLEAR!


                                  Horrible,         horrible,          horrible!




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           Adam      I·
                                                                        8/12/2019
           New York,        NY
                                                               and        poor       customer              service            - Flatrate                missed
           9    O friends        Lies,      delays,
                                 the      pickup/delivery                   window             in NYC            by several                    hours              on
            O   1 review
                                 both      ends        of our          move.           Through             the        app,         we     tracked                 the
                                 driver        on     his way             to our       apartment                 and        saw         that      he was
                                 hours         away          and       would          not      make        it in time.              We called
                                 Flatrate            to discuss            and        they      told       us the           GPS on the                        driver
                                 must        not      be working              properly                because               he was             still
                                 supposed              to arrive            on time.   It turned                      out      that      was           a flat-out

                                 lie,    as the        GPS followed                      him       the     entire           trip    and         he arrived
                                 over      2 hours             late.       In New           York,        you      go out            of your             way            to
                                 make          the     right       building           reservations                    (parkirig,              elevators)
                                 and      they        completely                 dropped            the       ball,      absolutely                    no
                                 apology.            Then        on       delivery,           we      paid       an extra               fee      to have                our
                                 items         transferred                to a shuttle              (it was           a long-distance                       move)
                                 as the         18-wheeler                 truck       was         not     permitted                in our             apartmerit
                                 building.            They       ignored             this      request,           despite               the     fact          that          we
                                 had       paid       a fee,         and       arrived         in an         18-wheeler                  and           left       us

                                 scrambling                 to make            arrangements.                     Not         to mention                  that          the
                                 18-wheeler                 arrived         2 hours            late       (despite             being           given              a 4
                                 hour      arrival           window).               We asked              for a refund                  of the           fee           and
                                 did     not      receive          a response.                  Finally,         we         paid        for     unpacking
                                 services            that      the     driver         was       completely     uriaware                           of. One
                                 piece         of furniture             was         also       broken    in the move,                           although
                                 this     would         not      be a big deal                  if the        other         issues             had          been
                                 handled             appropriate.                   I cannot          recommend                     Flatrate.                 Ir1 fact           I
                                 warn       you        not     to use          them.          There        are         other        movers                  out        there
                                 we      have         used       in New             York       that      are     cheaper                and        offer           better
                                 customer              service.            The       worst         part       is, I gave              Flatrate                a
                                 chance            to remedy               this      situation           by      sending    them   several
                                 emails          (including             this        review!)          prior      to posting     and they                                did
                                 not     attempt             to offer       any        sort     of help.




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           Average            J.
                                                                             8/5/2017
           Brooklyn,          NY
                                    Hired       these          guys          to move            a orie           bedroom              apartment                 into       a
           9      7 friends
                                    storage           unit.      Everything                  started            out     ok,    until     they          realized
           O      43 reviews
                                              were                       to miss             the       window            at the        storage            facility.
           9      1 photo
                                    they                 going
                                    Someone              at the           main         o1fice          screwed              Up and        didn't          relay           the
                                    times     correctly                (I had          reminded              them           twice       of the         time
                                    constrairits).


                                    So,      rather        than         finish         the job          right         by wrapping/protecting
                                    all the      furniture              and       electronics               they         promised               to, they            threw

                                    everythirig               into     wardrobe               boxes,             skipped            wrapping                 larger
                                    items       and        rushed             to the         place,         only        to arrive         5 minutes
                                    before       close.


                                    Of course,                I only       found         this       out     today,            when       I began               to
                                    Unload        my          stuff.      Speakers                 crammed               loose         in with          end
                                    tables        stu1T broken,                   and        no      sign        of the        feet     for      my      sofa.           The
                                    lesson?           If you           use     these          guys,         watch           them        the       ENTlRE
                                    TIME        to make                sure      you      get        the    wrapping/handling                            your          pay
                                    (top     dollar)          for.     Or don't           use        them          at all.


                                    Added         one         star      for      the    customer                 service         follow           Up, which
                                    rebates           me       a little        for the        inconveniences.                          Wori't          cover         a
                                    new       couch           and       sound           bar        though.




           Lisa      M.
                                                                              8/20/2018
           New York,           NY
                                    Flatrate          moved             within          us    Chelsea                 Feb      13.     Movers            lost/stole
           9      0 friends
                                    boxes.        There              was       other         obvious             problems.              They           said         there
            O     4 reviews
                                    was       no sofa            on      the      move          list     as well         as other             items.           which
                                    was       totally         not true           as     I had          given          a complete                list    to
                                    FlatRate.           The            one       guy     told       me      FlatRate             would           cover          my
                                    losses.        And          had        me      check           the      no        insurance           box          after        the
                                    move.         I got        $200           for over          $1000            in losses.
                                    Don't       trust      this        company                with        your        move.




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           Eric       S-
                                                                               2/14/2019
           Manhattan,         NY
            9     6 friends
                                   We used                Flatrate             to move                 a 2 bedroom                     walk-up           apartmerit
                                   from       New          York           to Boston                in July.           We received                     5 bids,             and
            O     3 reviews
                                   Flatrate          was         not the              cheapest,                 nor      the      most         expensive.                     We
           > review                chose           them         because                 the        manager               for the          move           Laurerice

                                   Yates,           promised                   that         Flatrate           had       deep          experience                 doing
           d review
                                   similar          moves             -                would            have         the       right      meri        for     the job,
                                                                     they
                                   and       the     right        number                to provide                an efricient                 and      careful
                                   move.            He also               dismissed                    competitors                who          hired        movers
                                                    street."
                                   "off     the                            We also                 purchased                   their      valuation
                                   coverage                which           promised    "you don't have to feel like you
                                                                                money"
                                   are      fighting         for your                     and would  "resolve any issues
                                                                possible."
                                   as      quickly         as

                                   Unforturiately     all of these   promises     turned  out to be                                                                 untrue.
                                   While     Laurence     had discussed      it was a four or even                                                                    five
                                   person           job,        considering                      the     walk-up               Flatrate          only         sent        3
                                   men       to move               us out.                 Further            those        3 meri             arrived          late       and

                                   frankly          struggled               with           the     fumiture.               Of course                 this      meant
                                   the      moveout              took          all day,            rather         than          the      3 brs we              were
                                   advised                At one            point,           one        mover     looked    completely
                                   exhausted                 and          we     thought                 he would     pass out.     Not sure
                                                                                                       street"
                                   tow       hiring          people             "off        the                could     have been worsel
                                    For the           move            in       in Boston                  it was           even         worse.              The
                                   movers            arrived              2 hours             late,       and        only        2 men           showed               up.
                                    The       move           was          too     much              for 2 men               to do independently
                                   and       my wife             and        I pitched                  in, in order             to get         the      job     dorle.
                                   The       movers,              in their             haste            made         some             careless           mistakes.

                                    They          lost     the        hinges           for        our     sectional              couch,           and         did      not
                                   bother          telling        us but              rather           just      plunked               it down.They                    also
                                   lost     the      center           leg       on         a relatively              new         sideboard               cabinet,
                                   which           led to inadequate                              support          for the             cabinet          arid        led      to

                                   warping            of the          cabinet                shelves.
                                   We pointed                   out       the missing                    cabinet   leg to the movers,   who
                                                                                  truck"
                                   first     said        it was           "in the                         than   admitted   they didn't have
                                   it and         it would            be shipped,                       although    that did not happen

                                    They          also       broke             a lamp             and         drinking          glass.
                                   We put in a request                                for     insurance                 coverage,               and         had       to wait
                                   almost           a month                to get           an assessmerit                       from         Flatrate's              local
                                   contractor.               He tried             to tell           us that          the       reason           the      cabinet
                                   was       sagging             was           because                  our     floor      was          uneven              rather
                                   than      the fact            that          it had         a missirig                leg.      At     the      same          time,             he
                                   refused           to actually                 measure                 the      floor         with      a level.             A1ter         all

                                   this,     we      received                  notice            from         Flatrate          claims           department
                                   that      we      would            be receiving                      a settlement                   that      a little       more
                                   than      the         cost     of their             insurance.                    We frankly                couldnT              be
                                   more        disappointed                      with            Flatrate.




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                              Chelsea     A-
                          .                                                                                          4/8/2017
                     ..       San Francisco,     CA
                                                                            I had      high       hopes,             given      that        it was      recommended    by a
                              is   394 friends
                                                                            friend, but they                    proceeded              to lose         nearly  $4 000 worth of
                              O    28 reviews
                                                                            my things,   and                then         only offered                $800 as a replacement.

                                                                            Virtually nothing                    was      done to ¶nd                 the    lost      boxes;          I was    kept
                                                                            in the dark the entire                        time        until       I'd receive          a phone           call   with
                                                                            bad       news.       And       then         they thought                 $800      was       decent
                                                                            recompense.                  What           a joke.


                                                                            Don't      use this           company.




           A.   P.
                                                                                            5/16/2018
           Manhattan,         NY
           ¾    1 friend
                                                      Moved           from         NYC to Arizona                       in Jaricary.               Beware           of lies      told

                                                      by     booking           agerits.           We agreed                   on      a delivery            date,      but     I told
           O    2 reviews
                                                      him       Nicholas             Roman              I would          be driving               across        the     country
                                                      so     he assured                me     flexibility              with     the    delivery             date.      Agent
                                                      failed      to mentiori               I would       be           liable       to a $1300               redelivery           feel
                                                      I was       literally         racing         the      delivery            truck         across         the    country            to
                                                      avoid       the       fee.


                                                                        Day-        Movers             rushed           through             the     delivery.          Even
                                                      Moving
                                                      though          I was         assured             many           other        residents           had         movers
                                                      park      a f     II size        semi-truck                 close         to apartment                 building           my
                                                      flat     rate     movers             insisted             on     moving          my things             on     a hand
                                                      truck      from         the     semi        parked               a 1/2       mile       away.     This        is how         I
                                                      believe         my of my               things         were          broken              such     as my           antique
                                                      marble          top      dresser.           The           marble          was         cracked         2 places           and
                                                      the      wood         frame          completely                  compromised.                    My       road      bike
                                                      was       scratched.                 My toaster                  oven        destroyed.


                                                      It is now           May,        and        I'm    still     harassirig              the      claims       dept      to send

                                                      my       pathetic            $143      check          to cover               damages.             I've       been
                                                      assured    at least                  3 times              "the    check          will       be fed-exed
                                                      tomorrow."



                                                      STAY        AWAY              from      these         careless               liars.




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           Tali    L.
                                                                      11/16/2018
           Manhattan,         NY
                                   FLAT       RATE          IS GHOSTING                      ME.       I used      FlatRate              wheri         I
           i      0 friends
                                   moved           cross      country          6 years           ago     and      it was        great!They
           O      5 reviews
                                   were      obviously              my     first    choice         moving         back         to New York.

                                   Unfortunately              the        secorld        time       using        them      was          terrible        and
                                   now      they      are     ghosting             me     arid      my husband                 after      the
                                   prornised           us a refurid.               They      were       late,     called         us that          they
                                   lost     some       of our        iterns,        and     broke        some          of our      valued
                                   items.      I would         not        be writing         this      if they     had         gotterl       back          to
                                   us and          resolved          it in a timely              manner.         It has        been        about           2
                                   months          now      with      nothing.            The      people        we      were          emailing
                                   with     are     now       not     returning           our     emails         or calls.        It's     very
                                   upsetting          when          you trust           a company               to honor          what          they       say
                                   they     will    do and          then       disappear.              I would         think     twice          about

                                   hiring      them.




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